Case 1:19-cv-20195-JLK Document 8-1 Entered on FLSD Docket 04/19/2019 Page 1 of 130



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                   Case No. 1:19-cv20195-JLK


   ORGANIZATION OF PROFESSIONAL
   AVICULTURISTS, INC.,

                  Plaintiff,

                  v.

   MARGARET EVERSON, in her official
   capacity as Principal Deputy Director
   Exercising the Authority of the Director of
   U.S. Fish and Wildlife Service, et al.;

               Defendants.
   ____________________________________/

                               DECLARATION OF CATHY WILLIS

          Pursuant to 28 U.S.C. 1746, I declare and state as follows:

          1.      I am the Acting Freedom of Information Act (“FOIA”) Officer for the U.S. Fish

   & Wildlife Service (“FWS”), which is within the U.S. Department of the Interior. I assumed this

   role in March 2019. All information provided in this declaration is based on my review of the

   official files and records of the Department, my personal knowledge, information acquired by me

   through the performance of my official duties, or a combination of these. As such, the statements

   contained in this declaration are based upon my personal knowledge, upon information given to

   me in my professional capacity, and upon conclusions and determinations reached and made in

   accordance therewith.

      HISTORY OF REQUESTS FWS-2019-00157; FWS-2019-00158; FWS-2019-00160; and
         FWS-2019-00161 – U.S. FISH AND WILDLIFE SERVICE INTERNATIONAL
                   AFFAIRS DIVISION OF SCIENTIFIC AUTHORITY




                                                   1
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          2.      On October 15, 2018, and on October 18, 2018, the Organization of Professional

   Aviculturists (“OPA”) filed two requests each day, respectively, on the Department of Interior

   FOIA Request Form Internet web page (doi-webforms@ios.doi.gov). The requests sought the

   following information relating to the Wild Bird Conservation Act of 1992 (“WBCA”):

               (1) “all information and internal guidance relating to USFWS interpretation of sections

               4905 and 4906 of the Wild Bird Conservation Act” (FWS-2019-00157);

               (2) “all information relating to FWS procedures for considering a petition under section

               4909 of the Wild Bird Conservation Act” (FWS-2019-00158);

               (3) “all documents relating to [FWS’s] interpretation of its obligations under the

               WBCA ” (FWS-2019-00160); and

               (4) “all information related to FWS’s obligations to issue regulations under the Wild

               Bird Conservation Act” (FWS-2019-00161).

          3.      On November 2, 2018, the four FOIA requests (FWS-2019-00157; FWS-2019-

   00158; FWS-2019-00160; FWS-2019-00161) were forwarded to the FWS International Affairs,

   Division of Scientific Authority at the FWS’s headquarters in Falls Church, VA for processing.

   The U.S. Fish and Wildlife Service’s International Affairs Program coordinates domestic and

   international efforts to protect, restore, and enhance the world’s diverse wildlife and their

   habitats with a focus on species of international concern. The mission of the Division of

   Scientific Authority (“DSA”) is to serve as the U.S. Scientific Authority for the Convention on

   International Trade in Endangered Species of Wild Fauna and Flora (“CITES”). If records

   responsive to OPA’s requests referenced in paragraph 2 above existed, it was determined that

   such records could be identified by, or would be in the possession of, DSA.




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          4.     Patricia Ford has the responsibility for reviewing incoming requests for

   information under the FOIA and responding to these requests as appropriate for DSA. As the

   staff person who has the lead for FOIA requests for DSA, Ms. Ford’s responsibilities include

   managing new and existing FOIA requests submitted to the DSA, providing the

   acknowledgement of DSA FOIA’s receipt of FOIA requests, liaising with DSA Chief and

   Branch Chiefs, and staff to initiate searches, and preparing and reviewing responses to FOIA

   requests to DSA, and providing policy guidance with regard to FOIA.

          5.     As the DSA FOIA staff person, Ms. Ford processed the FOIA requests referenced

   above. The four requests were discussed with the DSA subject matter experts, the DSA Division

   Chief, the DSA Branch Chief of Consultation and Monitoring, and the DSA biologist who works

   on WBCA issues.

          6.     DSA’s subject matter experts explained that DSA implements the WBCA

   according to the language of the Act itself and the Code of Federal Regulations (CFR) Title 50

   CFR Wildlife and Fisheries, Part 15: Wild Bird Conservation Act for the FWS. The DSA does

   not have any internal documents, memoranda, policy manuals, guidance, etc., relating to the

   FWS’s interpretation of sections 4905, 4906, and 4909 of the WBCA.

          7.     DSA staff did a thorough search of DSA’s electronic and paper filing systems

   pertaining to the WBCA to locate the records identified by the DSA subject matter experts as

   responsive to OPA’s FOIA request: the WBCA of 1992; 50 CFR Part 15 regulations; three Federal

   Register notices that are final rules implementing the WBCA; and a FWS fact sheet titled: Wild

   Bird Conservation Act Summary of Regulations & Effects. The FWS fact sheet was provided to

   OPA as a URL.




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          8.      Accordingly, in its final determinations on Requests FWS-2019-00157; FWS-

   2019-00158; FWS-2019-00160; FWS-2019-00161 on December 11, 2018, the DSA provided the

   requester with these records which included three Internet URL addresses for the (1) 50 CFR Part

   15, (2) the WBCA of 1992; and (3) a FWS WBCA fact sheet; and provided electronic copies of

   three Federal Register documents (41 pages) on December 11, 2018.

         HISTORY OF REQUESTS FWS-2019-00156; FWS-2019-00159; FWS-2019-00162;
         FWS-2019-00163; and FWS-2019-00443 – U.S. FISH AND WILDLIFE SERVICE
          INTERNATIONAL AFFAIRS DIVISION OF MANAGEMENT AUTHORITY

          9.      On October 15, 2018, the OPA made four FOIA requests, and on October 18,

   2018, it made one request on the Department of Interior FOIA Request Form Internet web page

   (doi-webforms@ios.doi.gov). The requests sought information relating to:

               (1) “the attempt by the Argentinian CITES authority to petition the USFWS to allow

               for sustainable import of blue front amazon” (FWS-2019-00156);

               (2) “the approval of permits for consortium/cooperative breeding agreements. 1a)

               This includes but is not limited to all information, relating to the approval of permits

               of consortium/cooperative breeding agreements of CITES appendix 1 listed species”

               (FWS-2019-00159);

               (3) “the approval of permits for personal pets” (FWS-2019-00162);

               (4) “all internal documents, memoranda, policy manuals, guidance , training manuals,

               etc. relating to the approval of permits for import or export of exotic avian species

               into or out of the United States” (FWS-2019-00163); and

               (5) “[FWS’s] interpretation of its obligations under WBCA” (FWS-2019-00443).



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          10.     These five FOIA requests were forwarded to the FWS International Affairs,

   Division of Management Authority Branch of Permits (“BoP”) at the FWS’s headquarters in

   Falls Church, VA for processing. The Division of Management Authority (“DMA”) implements

   domestic laws and international treaties to promote long-term conservation of global fish and

   wildlife resources. If records responsive to OPA’s requests referenced in paragraph 9 above

   existed, it was determined that such records could be identified by, or would be in the possession

   of, DMA.

          11.     Brenda Tapia, Program Analyst/Data Management, has the responsibility for

   FOIA within DMA BoP. Ms. Tapia has been in this position since 2004.

          12.     As the FOIA staff person for DMA, Ms. Tapia’s responsibilities include managing

   new and existing FOIA requests submitted to the DMA, providing the acknowledgement of DMA

   FOIA’s receipt of FOIA requests, liaising with DMA Chief and Branch Chief of BoP, and staff to

   initiate searches, preparing and reviewing responses to FOIA requests to DMA, and providing

   policy guidance with regard to FOIA.

          13.     As the DMA FOIA staff person, Ms. Tapia processed the FOIA requests that were

   forwarded for processing by DMA.

          14.     With regard to request FWS 2019-00156, which sought records regarding “the

   attempt by the Argentinian CITES authority to petition the USFWS to allow for sustainable

   import of blue front amazon,” Ms. Tapia discussed the request with the relevant subject matter

   expert, a biologist within the DMA’s Wildlife Trade and Conservation Branch (“WTCB”). The

   subject matter expert searched all of WTCB’s WBCA records in all forms available to the

   subject matter expert. The subject matter expert provided a copy of a Federal Register document

   (80 FR 79300, December 12, 2015) and a copy of the letter DMA sent to the Argentinian CITES

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   Management Authority. The subject matter expert did not have access to a copy of the response

   letter from the Argentinian CITES Management Authority, or a copy of the English translation

   of the response letter.

           15.     To obtain a copy of the response letter from the Argentinian CITES Management

   Authority, and a copy of the English translation of the response letter, BoP sent a request to the

   Department of the Interior’s eMail Enterprise Records and Document Management System

   (eERDMS) FWS representative to search emails of former DMA Chief, Mr. Roddy Gabel, who

   has retired from the FWS. Through eERDMS, the response letter from the Argentina CITES

   Management Authority and the English translation of the response letter from Argentina were

   retrieved. Copies of the Federal Register document, the letter DMA sent to the Argentinian

   CITES Management Authority, the Argentinian response letter, and the English translation of the

   response letter were provided to the requester.

           16.     With regard to request FWS-2019-00159, which sought records concerning “the

   approval of permits for consortium/cooperative breeding agreements,” Ms. Tapia discussed the

   request with the relevant subject matter expert, a biologist within WTCB. The subject matter

   expert searched the International Affairs shared electronic folders, which house the relevant

   program information (DMA program folders, cooperative breeding program folder, which

   contains all cooperative breeding programs approved for Appendix-I species). The subject matter

   expert searched all of WTCB’s WBCA Appendix I records in all forms available to the subject

   matter expert. The subject matter expert identified a total of 29 pages of responsive records,

   which were then provided to the requester. The documents that were provided include FWS’s

   responses to applicants.




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          17.     Request FWS-2019-00162 very broadly sought “all information, relating to the

   approval of permits for personal pets.” By email dated November 19, 2018, the requester

   narrowed/clarified the request to “The OPA limits its requests to guidance for approving the

   export of CITES-listed avian species from the U.S. under the Personal Pet exemption.

   Specifically, what criteria are used by the Service to determine whether an export is

   ‘commercial.’” Ms. Tapia discussed the narrowed request with the subject matter expert, the

   Chief of DMA’s Branch of Permits, who indicated that “DMA follows applicable

   law/treaty/regulation for approving export of CITES-listed avian species, including the CITES

   implementing regulations at 50 CFR part 23.” FWS advised OPA accordingly in its written

   response to the request. DMA also provided four publicly accessible URL links to CITES

   regulations and FWS permit web pages containing information relating to personal pet permits.

          18.     With regard to request FWS-2019-00163, which sought “all internal documents,

   memoranda, policy manuals, guidance, training manuals, etc. relating to the approval of permits

   for import or export of exotic avian species into or out of the United States,” the DMA provided

   the Internet URL address for 50 CFR 15 regulations, which are the regulations that implement

   the WBCA. According to the Chief of DMA’s Branch of Permits, DMA does not have any

   internal documents, memoranda, policy manuals, guidance, or training manuals, relating to the

   approval of permits for import or export of exotic avian species into or from the United States.

   The DMA implements the WBCA according to the language of the Act of 1992 and the

   regulations of 50 CFR Wildlife and Fisheries, Part 15: Wild Bird Conservation Act to determine

   and guide the process and approval of WBCA permits. Accordingly, the requester was provided

   with Internet URL addresses for the 50 CFR Part 15 and the WBCA of 1992.




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           19.    With regard to request FWS-2019-00443, which sought records regarding

   “[FWS’s] interpretation of its obligations under WBCA,” Ms. Tapia discussed the request with

   the subject matter expert, a senior DMA biologist. The subject matter expert explained that

   DMA does not have any written internal documents concerning its interpretation and obligations

   under the WBCA, as DMA follows the WBCA and CFR regulations for the issuance of permits

   under the WBCA. Accordingly, the requester was provided with Internet URL addresses for the

   50 CFR Part 15 and the WBCA of 1992.

           20.    The DMA provided OPA its final determination on Requests 2019-00159, 2019-

   00162, 2019-00163, and 2019-00443 on March 4, 2019 and Request 2019-00156 on March 12,

   2019.

           21.    The searches described above were calculated to identify and locate any records

   in the possession of FWS responsive to each of the nine FOIA requests at issue. In each

   instance, the FOIA personnel tasked with processing the requests consulted the appropriate

   subject matter expert within the FWS component determined to be the likeliest repository of the

   information to ascertain whether responsive documents existed. As indicated above, the search

   for records regarding how FWS interprets and implements the WBCA yielded no records beyond

   the statute itself and the agency regulations promulgated thereunder. Where requests sought

   more specific information about a particular matter, as did the request regarding the Argentine

   CITES authority’s petition for permission to import the blue front amazon, or as did the request

   for records regarding the approval of permits for consortium/cooperative breeding agreements,

   FWS identified responsive records and produced them to the requester. For the foregoing

   reasons, I believe FWS has complied in all material respects with the requirements of FOIA.




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          22.     A copy of each of OPA’s nine FOIA requests referenced in the complaint are

   attached hereto as composite Exhibit “A.” A copy of FWS’s responses to each of OPA’s nine

   FOIA requests is attached hereto as composite Exhibit “B.” FWS’s responses explained OPA’s

   right to administrative appeal of FWS’s determinations. FWS has no record of receiving from

   OPA or its representatives any appeals of FWS’s determinations.

          In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that the

   foregoing is true and correct.




      Executed this 17th day of April, 2019


     Cathy
                             Digitally signed by Cathy
                             Date: 2019.04.17
                             11:20:52 -06'00'
      ______________________
      Cathy Willis
      U.S. Fish and Wildlife Service
      U.S. Department of the Interior




                                                         9
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                           Exhibit A
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                                                                                   Tapia, Brenda <brenda_tapia@fws.gov>



New Request (1, 12/18); Fwd: FOIA from: David A. Garcia
FOIA, FWHQ <fwhq_foia@fws.gov>                                                                  Thu, Oct 18, 2018 at 3:35 PM
To: dgarcia@pradaurizar.com
Cc: Brenda Tapia <brenda_tapia@fws.gov>, Mary Cogliano <mary_cogliano@fws.gov>

 Dear David A. Garcia,

 The United States Fish and Wildlife Service (FWS) Headquarters FOIA Office received your request dated October 18,
 2018. We have forwarded your request to our Division of Management Authority (DMA) for processing. You will receive
 a formal acknowledgement shortly; which will include DMA contact information in case you have any questions or
 concerns regarding this FOIA request.

 Respectfully,

 United States Fish and Wildlife Service
 Headquarters Freedom of Information Act Office
 MS: IRTM
 5275 Leesburg Pike
 Falls Church, VA 22041


 ---------- Forwarded message ---------
 From: U.S. Department of the Interior <doi-webforms@ios.doi.gov>
 Date: Thu, Oct 18, 2018 at 11:35 AM
 Subject: FOIA from: David A. Garcia
 To: <fwhq_foia@fws.gov>


 Submitted on Thursday, October 18, 2018 - 11:35am
 Submitted by anonymous user: [10.156.8.158]
 Submitted values are:
 Your Name: David A. Garcia
 Mailing Address: 3191 Coral Way Ste. 607
 City: Miami
 State or Country: FL
 Zip or Postal Code: 33145
 Address Type: Business
 Daytime Phone Number: 3055109312
 Fax Number:
 E-mail Address: dgarcia@pradaurizar.com
 Confirm E-mail Address : dgarcia@pradaurizar.com
 Your Organization: Organization of Professional Aviculturist (OPA)
 Are you filing the request on behalf of another party? Yes
 If so, who are you filing the request on behalf of? Organization of Professional Aviculturists
 Contact Information Certification: I certify that the above statement(s) concerning who I am filing the request on behalf of
 are true and correct to the best of my knowledge and belief. If I want to receive greater access to records about a person I
 represent, I will submit proof that the person consents to the release of the records to me, as discussed in 43 C.F.R. §
 2.9.
 Bureau/Office: Fish & Wildlife Service (FWS)
 Relevant park, refuge, site or other location:
 Request Description: The OPA request all information relating to the attempt by the Argentinian CITES authority to
 petition the USFWS to allow for sustainable import of blue front amazon
 Requester's Communication Preferences: Electronic communication via email
 Document Disclosure Preferences: Electronic copies via email
 Select the applicable reason why you are requesting expedited processing:
 Justification for Expedited Processing:
 Expedited Processing Certification:
Case 1:19-cv-20195-JLK Document 8-1 Entered on FLSD Docket 04/19/2019 Page 12 of 130
Please select the appropriate statement: I am requesting a waiver or reduction of fees.
I agree to pay fees up to this particular amount: $10
To assist in determining my requester category to assess fees, you should know that I am: affiliated with an educational or
noncommercial scientific institution and this request is made for a scholarly or scientific purpose and not for commercial
use
Affiliated Organization: This information is being solicited by the Organization of Professional Aviculturist (OPA). The OPA
is a non-profit organization that supports and advocates for the conservation of avian species by encouraging cooperation
between in situ conservationists and ex situ production of specimens. It is our goal to ensure that actions of professional
aviculturist have a positive impact on the future of avian species.
Check the boxes to the right to confirm that you meet the Department's fee waiver criteria:
 - Disclosure of the information is in the public interest because it is likely to contribute significantly to public
understanding of the operations or activities of the Government.
 - Disclosure of the information is not primarily in my commercial interest.
Please explain why your request for a waiver of fees or a reduction in fees is justified.: e OPA is requesting information
regarding the Wild Bird Conservation Act and relevant agency actions so as to determine if the agency is complying with
its obligations under the statute and to further determine if legal action is needed to ensure that agency appropriately
complies with its obligations. This information is not for a commercial purpose but is research undertaken by the OPA to
determine what actions the agency has so far taken to comply with its obligations under WBCA and what actions the OPA
will take in light of those actions. This information is necessary to provide the public with a greater understanding of the
government's actions and will be publicized by the OPA, without a commercial gain on our part.


The results of this submission may be viewed at:
https://www.doi.gov/node/11498/submission/478677




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United States Fish and Wildlife Service
Headquarters Freedom of Information Act Office
MS: IRTM
5275 Leesburg Pike
Falls Church, VA 22041
11/2/2018
      Case               DEPARTMENT
             1:19-cv-20195-JLK      OF THE INTERIOR
                                Document            Mail - Fwd: on
                                             8-1 Entered        NewFLSD
                                                                   Request Docket
                                                                           (3) 12/18; Fwd: FOIA from: David
                                                                                       04/19/2019           A. Garcia
                                                                                                         Page     13 of 130


                                                                                          Ford, Patricia <patricia_ford@fws.gov>



  Fwd: New Request (3) 12/18; Fwd: FOIA from: David A. Garcia
  1 message

  Tapia, Brenda <brenda_tapia@fws.gov>                                                                   Fri, Nov 2, 2018 at 4:16 PM
  To: Patricia Ford <patricia_ford@fws.gov>, "Williams, Sheri" <sheri_s_williams@fws.gov>

    Per our conversation, I am forwarding the FOIA request from Mr. Garcia concerning interpretation of section 4905 and
    4906 of the WBCA. I have not created an entry in EFTS.
    Thanks,
    Brenda


    ---------- Forwarded message ---------
    From: FOIA, FWHQ <fwhq_foia@fws.gov>
    Date: Thu, Oct 18, 2018 at 3:38 PM
    Subject: New Request (3) 12/18; Fwd: FOIA from: David A. Garcia
    To: <dgarcia@pradaurizar.com>
    Cc: Brenda Tapia <brenda_tapia@fws.gov>, Mary Cogliano <mary_cogliano@fws.gov>


    Dear David A. Garcia,

    The United States Fish and Wildlife Service (FWS) Headquarters FOIA Office received your request dated October 18,
    2018. We have forwarded your request to our Division of Management Authority (DMA) for processing. You will receive
    a formal acknowledgement shortly; which will include DMA contact information in case you have any questions or
    concerns regarding this FOIA request.

    Respectfully,

    United States Fish and Wildlife Service
    Headquarters Freedom of Information Act Office
    MS: IRTM
    5275 Leesburg Pike
    Falls Church, VA 22041

    ---------- Forwarded message ---------
    From: U.S. Department of the Interior <doi-webforms@ios.doi.gov>
    Date: Thu, Oct 18, 2018 at 12:26 PM
    Subject: FOIA from: David A. Garcia
    To: <fwhq_foia@fws.gov>


    Submitted on Thursday, October 18, 2018 - 12:26pm
    Submitted by anonymous user: [10.156.8.158]
    Submitted values are:
    Your Name: David A. Garcia
    Mailing Address: 3191 Coral Way Ste. 607
    City: Miami
    State or Country: FL
    Zip or Postal Code: 33145
    Address Type: Business
    Daytime Phone Number: 3055109312
    Fax Number:
    E-mail Address: dgarcia@pradaurizar.com
    Confirm E-mail Address : dgarcia@pradaurizar.com
    Your Organization: Organization of Professional Aviculturist (OPA)
    Are you filing the request on behalf of another party? Yes
    If so, who are you filing the request on behalf of? Organization of Professional Aviculturists
https://mail.google.com/mail/u/0?ik=ae318fe1f1&view=pt&search=all&permthid=thread-f%3A1616054643182926071%7Cmsg-f%3A16160546431829…   1/2
11/2/2018
      Case               DEPARTMENT
             1:19-cv-20195-JLK      OF THE INTERIOR
                                Document            Mail - Fwd: on
                                             8-1 Entered        NewFLSD
                                                                   Request Docket
                                                                           (3) 12/18; Fwd: FOIA from: David
                                                                                       04/19/2019           A. Garcia
                                                                                                         Page     14 of 130
    Contact Information Certification: I certify that the above statement(s) concerning who I am filing the request on behalf of
    are true and correct to the best of my knowledge and belief. If I want to receive greater access to records about a person I
    represent, I will submit proof that the person consents to the release of the records to me, as discussed in 43 C.F.R. §
    2.9.
    Bureau/Office: Fish & Wildlife Service (FWS)
    Relevant park, refuge, site or other location:
    Request Description: The OPA is requesting all information and internal guidance relating to USFWS interpretation of
    sections 4905 and 4906 of the Wild Bird Conservation Act
    Requester's Communication Preferences: Electronic communication via email
    Document Disclosure Preferences: Electronic copies via email
    Select the applicable reason why you are requesting expedited processing:
    Justification for Expedited Processing:
    Expedited Processing Certification:
    Please select the appropriate statement: I am requesting a waiver or reduction of fees.
    I agree to pay fees up to this particular amount: $10
    To assist in determining my requester category to assess fees, you should know that I am: affiliated with an educational or
    noncommercial scientific institution and this request is made for a scholarly or scientific purpose and not for commercial
    use
    Affiliated Organization: Organization of Professional Aviculturist (OPA)
    Check the boxes to the right to confirm that you meet the Department's fee waiver criteria:
     - Disclosure of the information is in the public interest because it is likely to contribute significantly to public
    understanding of the operations or activities of the Government.
     - Disclosure of the information is not primarily in my commercial interest.
    Please explain why your request for a waiver of fees or a reduction in fees is justified.:
     The OPA is requesting information regarding the Wild Bird Conservation Act and relevant agency actions so as to
    determine if the agency is complying with its obligations under the statute and to further determine if legal action is
    needed to ensure that agency appropriately complies with its obligations. This information is not for a commercial purpose
    but is research undertaken by the OPA to determine what actions the agency has so far taken to comply with its
    obligations under WBCA and what actions the OPA will take in light of those actions. This information is necessary to
    provide the public with a greater understanding of the government's actions and will be publicized by the OPA, without a
    commercial gain on our part.



    The results of this submission may be viewed at:
    https://www.doi.gov/node/11498/submission/478696




    --
    United States Fish and Wildlife Service
    Headquarters Freedom of Information Act Office
    MS: IRTM
    5275 Leesburg Pike
    Falls Church, VA 22041


    --

    Thank you,
    Brenda Tapia
    Program Analyst/Data Management
    U.S. Fish and Wildlife Service
    Division of Management Authority (DMA)
    Branch of Permits, MS: IA
    5275 Leesburg Pike
    Falls Church, VA 22041
    Ph: 800-358-2104 x.1989 or 703-358-2104 x.1989
    Fax: 703-358-2280
    Sign up for our e-newsletter to learn how we're working around the globe to protect species and their habitats!




https://mail.google.com/mail/u/0?ik=ae318fe1f1&view=pt&search=all&permthid=thread-f%3A1616054643182926071%7Cmsg-f%3A16160546431829…   2/2
11/2/2018
      Case                DEPARTMENT
              1:19-cv-20195-JLK      OF THE INTERIOR
                                 Document            Mail - Fwd: on
                                              8-1 Entered        NewFLSD
                                                                    Request Docket
                                                                            (2) 12/18; Fwd: FOIA from: David
                                                                                        04/19/2019           A. Garcia
                                                                                                          Page     15 of 130


                                                                                          Ford, Patricia <patricia_ford@fws.gov>



  Fwd: New Request (2) 12/18; Fwd: FOIA from: David A. Garcia
  1 message

  Tapia, Brenda <brenda_tapia@fws.gov>                                                                   Fri, Nov 2, 2018 at 4:15 PM
  To: Patricia Ford <patricia_ford@fws.gov>, "Williams, Sheri" <sheri_s_williams@fws.gov>

    Per our conversation, I am forwarding the FOIA request from Mr. Garcia concerning petition under 4909 of the WBCA. I
    have not created an entry in EFTS.

    This request and the previous one are two different requests. I made a mistake when I wrote the request.

    Thanks,
    Brenda

    ---------- Forwarded message ---------
    From: FOIA, FWHQ <fwhq_foia@fws.gov>
    Date: Thu, Oct 18, 2018 at 3:37 PM
    Subject: New Request (2) 12/18; Fwd: FOIA from: David A. Garcia
    To: <dgarcia@pradaurizar.com>
    Cc: Brenda Tapia <brenda_tapia@fws.gov>, Mary Cogliano <mary_cogliano@fws.gov>


    Dear David A. Garcia,

    The United States Fish and Wildlife Service (FWS) Headquarters FOIA Office received your request dated October 18,
    2018. We have forwarded your request to our Division of Management Authority (DMA) for processing. You will receive
    a formal acknowledgement shortly; which will include DMA contact information in case you have any questions or
    concerns regarding this FOIA request.

    Respectfully,

    United States Fish and Wildlife Service
    Headquarters Freedom of Information Act Office
    MS: IRTM
    5275 Leesburg Pike
    Falls Church, VA 22041

    ---------- Forwarded message ---------
    From: U.S. Department of the Interior <doi-webforms@ios.doi.gov>
    Date: Thu, Oct 18, 2018 at 11:38 AM
    Subject: FOIA from: David A. Garcia
    To: <fwhq_foia@fws.gov>


    Submitted on Thursday, October 18, 2018 - 11:38am
    Submitted by anonymous user: [10.156.8.158]
    Submitted values are:
    Your Name: David A. Garcia
    Mailing Address: 3191 Coral Way Ste. 607
    City: Miami
    State or Country: FL
    Zip or Postal Code: 33145
    Address Type: Business
    Daytime Phone Number: 3055109312
    Fax Number:
    E-mail Address: dgarcia@pradaurizar.com
    Confirm E-mail Address : dgarcia@pradaurizar.com
    Your Organization: Organization of Professional Aviculturist (OPA)
https://mail.google.com/mail/u/0?ik=ae318fe1f1&view=pt&search=all&permthid=thread-f%3A1616054563753595400%7Cmsg-f%3A16160545637535…   1/2
11/2/2018
      Case               DEPARTMENT
             1:19-cv-20195-JLK      OF THE INTERIOR
                                Document            Mail - Fwd: on
                                             8-1 Entered        NewFLSD
                                                                   Request Docket
                                                                           (2) 12/18; Fwd: FOIA from: David
                                                                                       04/19/2019           A. Garcia
                                                                                                         Page     16 of 130
    Are you filing the request on behalf of another party? Yes
    If so, who are you filing the request on behalf of? Organization of Professional Aviculturists
    Contact Information Certification: I certify that the above statement(s) concerning who I am filing the request on behalf of
    are true and correct to the best of my knowledge and belief. If I want to receive greater access to records about a person I
    represent, I will submit proof that the person consents to the release of the records to me, as discussed in 43 C.F.R. §
    2.9.
    Bureau/Office: Fish & Wildlife Service (FWS)
    Relevant park, refuge, site or other location:
    Request Description: All information relating to FWS procedures for considering a petition under section 4909 of the Wild
    Bird Conservation Act.
    Requester's Communication Preferences: Electronic communication via email
    Document Disclosure Preferences: Electronic copies via email
    Select the applicable reason why you are requesting expedited processing:
    Justification for Expedited Processing:
    Expedited Processing Certification:
    Please select the appropriate statement: I am requesting a waiver or reduction of fees.
    I agree to pay fees up to this particular amount: $10
    To assist in determining my requester category to assess fees, you should know that I am: affiliated with an educational or
    noncommercial scientific institution and this request is made for a scholarly or scientific purpose and not for commercial
    use
    Affiliated Organization: Organization of Professional Aviculturist (OPA)
    Check the boxes to the right to confirm that you meet the Department's fee waiver criteria:
     - Disclosure of the information is in the public interest because it is likely to contribute significantly to public
    understanding of the operations or activities of the Government.
     - Disclosure of the information is not primarily in my commercial interest.
    Please explain why your request for a waiver of fees or a reduction in fees is justified.: e OPA is requesting information
    regarding the Wild Bird Conservation Act and relevant agency actions so as to determine if the agency is complying with
    its obligations under the statute and to further determine if legal action is needed to ensure that agency appropriately
    complies with its obligations. This information is not for a commercial purpose but is research undertaken by the OPA to
    determine what actions the agency has so far taken to comply with its obligations under WBCA and what actions the OPA
    will take in light of those actions. This information is necessary to provide the public with a greater understanding of the
    government's actions and will be publicized by the OPA, without a commercial gain on our part.


    The results of this submission may be viewed at:
    https://www.doi.gov/node/11498/submission/478678




    --
    United States Fish and Wildlife Service
    Headquarters Freedom of Information Act Office
    MS: IRTM
    5275 Leesburg Pike
    Falls Church, VA 22041


    --

    Thank you,
    Brenda Tapia
    Program Analyst/Data Management
    U.S. Fish and Wildlife Service
    Division of Management Authority (DMA)
    Branch of Permits, MS: IA
    5275 Leesburg Pike
    Falls Church, VA 22041
    Ph: 800-358-2104 x.1989 or 703-358-2104 x.1989
    Fax: 703-358-2280
    Sign up for our e-newsletter to learn how we're working around the globe to protect species and their habitats!




https://mail.google.com/mail/u/0?ik=ae318fe1f1&view=pt&search=all&permthid=thread-f%3A1616054563753595400%7Cmsg-f%3A16160545637535…   2/2
  Case 1:19-cv-20195-JLK Document 8-1 Entered on FLSD Docket 04/19/2019 Page 17 of 130


                                                                                     Tapia, Brenda <brenda_tapia@fws.gov>



New Request (2); Fwd: FOIA from: David A. Garcia
FOIA, FWHQ <fwhq_foia@fws.gov>                                                                    Wed, Oct 17, 2018 at 9:49 AM
To: dgarcia@pradaurizar.com
Cc: Brenda Tapia <brenda_tapia@fws.gov>, Mary Cogliano <mary_cogliano@fws.gov>

 Dear David A. Garcia,

 The United States Fish and Wildlife Service (FWS) Headquarters FOIA Office received your request dated October 15,
 2018. We have forwarded your request to our Division of Management Authority (DMA) for processing. You will receive
 a formal acknowledgement shortly; which will include DMA contact information in case you have any questions or
 concerns regarding this FOIA request.

 Respectfully,

 United States Fish and Wildlife Service
 Headquarters Freedom of Information Act Office
 MS: IRTM
 5275 Leesburg Pike
 Falls Church, VA 22041

 ---------- Forwarded message ---------
 From: U.S. Department of the Interior <doi-webforms@ios.doi.gov>
 Date: Mon, Oct 15, 2018 at 12:56 PM
 Subject: FOIA from: David A. Garcia
 To: <fwhq_foia@fws.gov>


 Submitted on Monday, October 15, 2018 - 12:56pm
 Submitted by anonymous user: [10.156.8.158]
 Submitted values are:
 Your Name: David A. Garcia
 Mailing Address: 3191 Coral Way Ste. 607
 City: Miami
 State or Country: FL
 Zip or Postal Code: 33145
 Address Type: Business
 Daytime Phone Number: 3055109312
 Fax Number:
 E-mail Address: dgarcia@pradaurizar.com
 Confirm E-mail Address : dgarcia@pradaurizar.com
 Your Organization: Organization of Professional Aviculturist (OPA)
 Are you filing the request on behalf of another party? No
 If so, who are you filing the request on behalf of?
 Contact Information Certification: I certify that the above statement(s) concerning who I am filing the request on behalf of
 are true and correct to the best of my knowledge and belief. If I want to receive greater access to records about a person I
 represent, I will submit proof that the person consents to the release of the records to me, as discussed in 43 C.F.R. §
 2.9.
 Bureau/Office: Fish & Wildlife Service (FWS)
 Relevant park, refuge, site or other location:
 Request Description:
 1) The OPA is also requesting all information, relating to the approval of permits for consortium/cooperative breeding
 agreements.

 1a) This includes but is not limited to all information, relating to the approval of permits of consortium/cooperative
 breeding agreements of CITES appendix 1 listed species.

 Requester's Communication Preferences: Electronic communication via email
Case 1:19-cv-20195-JLK Document 8-1 Entered on FLSD Docket 04/19/2019 Page 18 of 130
Document Disclosure Preferences: Electronic copies via email
Select the applicable reason why you are requesting expedited processing:
Justification for Expedited Processing:
Expedited Processing Certification:
Please select the appropriate statement: I am requesting a waiver or reduction of fees.
I agree to pay fees up to this particular amount: $100
To assist in determining my requester category to assess fees, you should know that I am: affiliated with an educational or
noncommercial scientific institution and this request is made for a scholarly or scientific purpose and not for commercial
use
Affiliated Organization: This information is being solicited by the Organization of Professional Aviculturist (OPA). The OPA
is a non-profit organization that supports and advocates for the conservation of avian species by encouraging cooperation
between in situ conservationists and ex situ production of specimens. It is our goal to ensure that actions of professional
aviculturist have a positive impact on the future of avian species.
Check the boxes to the right to confirm that you meet the Department's fee waiver criteria:
 - Disclosure of the information is in the public interest because it is likely to contribute significantly to public
understanding of the operations or activities of the Government.
 - Disclosure of the information is not primarily in my commercial interest.
Please explain why your request for a waiver of fees or a reduction in fees is justified.: The OPA is requesting information
regarding the Wild Bird Conservation Act and relevant agency actions so as to determine if the agency is complying with
its obligations under the statute and to further determine if legal action is needed to ensure that agency appropriately
complies with its obligations. This information is not for a commercial purpose but is research undertaken by the OPA to
determine what actions the agency has so far taken to comply with its obligations under WBCA and what actions the OPA
will take in light of those actions. This information is necessary to provide the public with a greater understanding of the
government's actions and will be publicized by the OPA, without a commercial gain on our part.


The results of this submission may be viewed at:
https://www.doi.gov/node/11498/submission/477981




--
United States Fish and Wildlife Service
Headquarters Freedom of Information Act Office
MS: IRTM
5275 Leesburg Pike
Falls Church, VA 22041
11/2/2018
      Case                  DEPARTMENT
              1:19-cv-20195-JLK        OF THE8-1
                                 Document    INTERIOR Mail - Fwd:
                                                  Entered      onNew Request
                                                                  FLSD       (6); Fwd:04/19/2019
                                                                         Docket        FOIA from: David A. Garcia19 of 130
                                                                                                        Page


                                                                                          Ford, Patricia <patricia_ford@fws.gov>



  Fwd: New Request (6); Fwd: FOIA from: David A. Garcia
  1 message

  Tapia, Brenda <brenda_tapia@fws.gov>                                                                   Fri, Nov 2, 2018 at 4:10 PM
  To: Patricia Ford <patricia_ford@fws.gov>, "Williams, Sheri" <sheri_s_williams@fws.gov>

    Hello Pat,

    Per our conversation, I am forwarding the FOIA request from Mr. Garcia concerning WBCA. I have not created an entry
    in EFTS.

    Thanks,
    Brenda

    ---------- Forwarded message ---------
    From: FOIA, FWHQ <fwhq_foia@fws.gov>
    Date: Wed, Oct 17, 2018 at 9:56 AM
    Subject: New Request (6); Fwd: FOIA from: David A. Garcia
    To: <dgarcia@pradaurizar.com>
    Cc: Brenda Tapia <brenda_tapia@fws.gov>, Mary Cogliano <mary_cogliano@fws.gov>


    Dear David A. Garcia,

    The United States Fish and Wildlife Service (FWS) Headquarters FOIA Office received your request dated October 15,
    2018. We have forwarded your request to our Division of Management Authority (DMA) for processing. You will receive
    a formal acknowledgement shortly; which will include DMA contact information in case you have any questions or
    concerns regarding this FOIA request.

    Respectfully,

    United States Fish and Wildlife Service
    Headquarters Freedom of Information Act Office
    MS: IRTM
    5275 Leesburg Pike
    Falls Church, VA 22041

    ---------- Forwarded message ---------
    From: U.S. Department of the Interior <doi-webforms@ios.doi.gov>
    Date: Mon, Oct 15, 2018 at 1:03 PM
    Subject: FOIA from: David A. Garcia
    To: <fwhq_foia@fws.gov>


    Submitted on Monday, October 15, 2018 - 1:03pm
    Submitted by anonymous user: [10.156.8.158]
    Submitted values are:
    Your Name: David A. Garcia
    Mailing Address: 3191 Coral Way Ste. 607
    City: Miami
    State or Country: FL
    Zip or Postal Code: 33145
    Address Type: Business
    Daytime Phone Number: 3055109312
    Fax Number:
    E-mail Address: dgarcia@pradaurizar.com
    Confirm E-mail Address : dgarcia@pradaurizar.com
    Your Organization: Organization of Professional Aviculturist (OPA)
https://mail.google.com/mail/u/0?ik=ae318fe1f1&view=pt&search=all&permthid=thread-f%3A1616054267969711946%7Cmsg-f%3A161605426796971… 1/3
11/2/2018
      Case                 DEPARTMENT
             1:19-cv-20195-JLK        OF THE8-1
                                Document    INTERIOR Mail - Fwd:
                                                 Entered      onNew Request
                                                                 FLSD       (6); Fwd:04/19/2019
                                                                        Docket        FOIA from: David A. Garcia20 of 130
                                                                                                       Page
    Are you filing the request on behalf of another party? No
    If so, who are you filing the request on behalf of?
    Contact Information Certification: I certify that the above statement(s) concerning who I am filing the request on behalf of
    are true and correct to the best of my knowledge and belief. If I want to receive greater access to records about a person I
    represent, I will submit proof that the person consents to the release of the records to me, as discussed in 43 C.F.R. §
    2.9.
    Bureau/Office: Fish & Wildlife Service (FWS)
    Relevant park, refuge, site or other location:
    Request Description: The OPA requests from FWS all documents relating to its interpretation of its obligations under
    WBCA.
    Requester's Communication Preferences: Electronic communication via email
    Document Disclosure Preferences: Electronic copies via email
    Select the applicable reason why you are requesting expedited processing:
    Justification for Expedited Processing:
    Expedited Processing Certification: I certify that the above statement(s) concerning expedited processing are true and
    correct to the best of my knowledge and belief.
    Please select the appropriate statement: I am requesting a waiver or reduction of fees.
    I agree to pay fees up to this particular amount: $100
    To assist in determining my requester category to assess fees, you should know that I am: affiliated with an educational or
    noncommercial scientific institution and this request is made for a scholarly or scientific purpose and not for commercial
    use
    Affiliated Organization: This information is being solicited by the Organization of Professional Aviculturist (OPA). The OPA
    is a non-profit organization that supports and advocates for the conservation of avian species by encouraging cooperation
    between in situ conservationists and ex situ production of specimens. It is our goal to ensure that actions of professional
    aviculturist have a positive impact on the future of avian species.
    Check the boxes to the right to confirm that you meet the Department's fee waiver criteria:
     - Disclosure of the information is in the public interest because it is likely to contribute significantly to public
    understanding of the operations or activities of the Government.
     - Disclosure of the information is not primarily in my commercial interest.
    Please explain why your request for a waiver of fees or a reduction in fees is justified.: The OPA is requesting information
    regarding the Wild Bird Conservation Act and relevant agency actions so as to determine if the agency is complying with
    its obligations under the statute and to further determine if legal action is needed to ensure that agency appropriately
    complies with its obligations. This information is not for a commercial purpose but is research undertaken by the OPA to
    determine what actions the agency has so far taken to comply with its obligations under WBCA and what actions the OPA
    will take in light of those actions. This information is necessary to provide the public with a greater understanding of the
    government's actions and will be publicized by the OPA, without a commercial gain on our part.


    The results of this submission may be viewed at:
    https://www.doi.gov/node/11498/submission/477985




    --
    United States Fish and Wildlife Service
    Headquarters Freedom of Information Act Office
    MS: IRTM
    5275 Leesburg Pike
    Falls Church, VA 22041


    --

    Thank you,
    Brenda Tapia
    Program Analyst/Data Management
    U.S. Fish and Wildlife Service
    Division of Management Authority (DMA)
    Branch of Permits, MS: IA
    5275 Leesburg Pike
    Falls Church, VA 22041
    Ph: 800-358-2104 x.1989 or 703-358-2104 x.1989
    Fax: 703-358-2280

https://mail.google.com/mail/u/0?ik=ae318fe1f1&view=pt&search=all&permthid=thread-f%3A1616054267969711946%7Cmsg-f%3A161605426796971… 2/3
11/2/2018
      Case                 DEPARTMENT
             1:19-cv-20195-JLK        OF THE8-1
                                Document    INTERIOR Mail - Fwd:
                                                 Entered      onNew Request
                                                                 FLSD       (1); Fwd:04/19/2019
                                                                        Docket        FOIA from: David A. Garcia21 of 130
                                                                                                       Page


                                                                                          Ford, Patricia <patricia_ford@fws.gov>



  Fwd: New Request (1); Fwd: FOIA from: David A. Garcia
  1 message

  Tapia, Brenda <brenda_tapia@fws.gov>                                                                   Fri, Nov 2, 2018 at 4:20 PM
  To: Patricia Ford <patricia_ford@fws.gov>, "Williams, Sheri" <sheri_s_williams@fws.gov>

    ---------- Forwarded message ---------
    From: U.S. Department of the Interior <doi-webforms@ios.doi.gov>
    Date: Mon, Oct 15, 2018 at 12:54 PM
    Subject: FOIA from: David A. Garcia
    To: <fwhq_foia@fws.gov>


    Submitted on Monday, October 15, 2018 - 12:54pm
    Submitted by anonymous user: [10.156.8.158]
    Submitted values are:
    Your Name: David A. Garcia
    Mailing Address: 3191 Coral Way Ste. 607
    City: Miami
    State or Country: FL
    Zip or Postal Code: 33145
    Address Type: Business
    Daytime Phone Number: 3055109312
    Fax Number:
    E-mail Address: dgarcia@pradaurizar.com
    Confirm E-mail Address : dgarcia@pradaurizar.com
    Your Organization: Organization of Professional Aviculturist (OPA)
    Are you filing the request on behalf of another party? No




https://mail.google.com/mail/u/0?ik=ae318fe1f1&view=pt&search=all&permthid=thread-f%3A1616054878277681258%7Cmsg-f%3A16160548782776…   1/3
11/2/2018
      Case                 DEPARTMENT
             1:19-cv-20195-JLK        OF THE8-1
                                Document    INTERIOR Mail - Fwd:
                                                 Entered      onNew Request
                                                                 FLSD       (1); Fwd:04/19/2019
                                                                        Docket        FOIA from: David A. Garcia22 of 130
                                                                                                       Page
    If so, who are you filing the request on behalf of?
    Contact Information Certification: I certify that the above statement(s) concerning who I am filing the request on behalf of
    are true and correct to the best of my knowledge and belief. If I want to receive greater access to records about a person I
    represent, I will submit proof that the person consents to the release of the records to me, as discussed in 43 C.F.R. §
    2.9.
    Bureau/Office: Fish & Wildlife Service (FWS)
    Relevant park, refuge, site or other location:
    Request Description:
    1) The OPA is requesting all information related to FWS's obligations to issue regulations under the Wild Bird
    Conservation Act. Particularly, we are requesting information relating to the agencies failure to include additional species
    on the approved list for captive-bred species.


    Requester's Communication Preferences: Electronic communication via email
    Document Disclosure Preferences: Electronic copies via email
    Select the applicable reason why you are requesting expedited processing:
    Justification for Expedited Processing:
    Expedited Processing Certification:
    Please select the appropriate statement: I am requesting a waiver or reduction of fees.
    I agree to pay fees up to this particular amount: $100
    To assist in determining my requester category to assess fees, you should know that I am: affiliated with an educational or
    noncommercial scientific institution and this request is made for a scholarly or scientific purpose and not for commercial
    use
    Affiliated Organization: This information is being solicited by the Organization of Professional Aviculturist (OPA). The OPA
    is a non-profit organization that supports and advocates for the conservation of avian species by encouraging cooperation
    between in situ conservationists and ex situ production of specimens. It is our goal to ensure that actions of professional
    aviculturist have a positive impact on the future of avian species.
    Check the boxes to the right to confirm that you meet the Department's fee waiver criteria:
     - Disclosure of the information is in the public interest because it is likely to contribute significantly to public
    understanding of the operations or activities of the Government.
     - Disclosure of the information is not primarily in my commercial interest.
    Please explain why your request for a waiver of fees or a reduction in fees is justified.: The OPA is requesting information
    regarding the Wild Bird Conservation Act and relevant agency actions so as to determine if the agency is complying with
    its obligations under the statute and to further determine if legal action is needed to ensure that agency appropriately
    complies with its obligations. This information is not for a commercial purpose but is research undertaken by the OPA to
    determine what actions the agency has so far taken to comply with its obligations under WBCA and what actions the OPA
    will take in light of those actions. This information is necessary to provide the public with a greater understanding of the
    government's actions and will be publicized by the OPA, without a commercial gain on our part.


    The results of this submission may be viewed at:
    https://www.doi.gov/node/11498/submission/477980




    --
    United States Fish and Wildlife Service
    Headquarters Freedom of Information Act Office
    MS: IRTM
    5275 Leesburg Pike
    Falls Church, VA 22041


    --

    Thank you,
    Brenda Tapia
    Program Analyst/Data Management
    U.S. Fish and Wildlife Service
    Division of Management Authority (DMA)
    Branch of Permits, MS: IA
    5275 Leesburg Pike
    Falls Church, VA 22041

https://mail.google.com/mail/u/0?ik=ae318fe1f1&view=pt&search=all&permthid=thread-f%3A1616054878277681258%7Cmsg-f%3A16160548782776…   2/3
  Case 1:19-cv-20195-JLK Document 8-1 Entered on FLSD Docket 04/19/2019 Page 23 of 130


                                                                                   Tapia, Brenda <brenda_tapia@fws.gov>



New Request (3); Fwd: FOIA from: David A. Garcia
FOIA, FWHQ <fwhq_foia@fws.gov>                                                                  Wed, Oct 17, 2018 at 9:51 AM
To: dgarcia@pradaurizar.com
Cc: Brenda Tapia <brenda_tapia@fws.gov>, Mary Cogliano <mary_cogliano@fws.gov>

 Dear David A. Garcia,

 The United States Fish and Wildlife Service (FWS) Headquarters FOIA Office received your request dated October 15,
 2018. We have forwarded your request to our Division of Management Authority (DMA) for processing. You will receive
 a formal acknowledgement shortly; which will include DMA contact information in case you have any questions or
 concerns regarding this FOIA request.

 Respectfully,

 United States Fish and Wildlife Service
 Headquarters Freedom of Information Act Office
 MS: IRTM
 5275 Leesburg Pike
 Falls Church, VA 22041

 ---------- Forwarded message ---------
 From: U.S. Department of the Interior <doi-webforms@ios.doi.gov>
 Date: Mon, Oct 15, 2018 at 12:57 PM
 Subject: FOIA from: David A. Garcia
 To: <fwhq_foia@fws.gov>


 Submitted on Monday, October 15, 2018 - 12:58pm
 Submitted by anonymous user: [10.156.8.158]
 Submitted values are:
 Your Name: David A. Garcia
 Mailing Address: 3191 Coral Way Ste. 607
 City: Miami
 State or Country: FL
 Zip or Postal Code: 33145
 Address Type: Business
 Daytime Phone Number: 3055109312
 Fax Number:
 E-mail Address: dgarcia@pradaurizar.com
 Confirm E-mail Address : dgarcia@pradaurizar.com
 Your Organization: Organization of Professional Aviculturist (OPA)
 Are you filing the request on behalf of another party? No
 If so, who are you filing the request on behalf of?
 Contact Information Certification: I certify that the above statement(s) concerning who I am filing the request on behalf of
 are true and correct to the best of my knowledge and belief. If I want to receive greater access to records about a person I
 represent, I will submit proof that the person consents to the release of the records to me, as discussed in 43 C.F.R. §
 2.9.
 Bureau/Office: Fish & Wildlife Service (FWS)
 Relevant park, refuge, site or other location:
 Request Description: The OPA is requesting all information, relating to the approval of permits for personal pets.
 Requester's Communication Preferences: Electronic communication via email
 Document Disclosure Preferences: Electronic copies via email
 Select the applicable reason why you are requesting expedited processing:
 Justification for Expedited Processing:
 Expedited Processing Certification:
 Please select the appropriate statement: I am requesting a waiver or reduction of fees.
 I agree to pay fees up to this particular amount: $100
Case 1:19-cv-20195-JLK Document 8-1 Entered on FLSD Docket 04/19/2019 Page 24 of 130
To assist in determining my requester category to assess fees, you should know that I am: affiliated with an educational or
noncommercial scientific institution and this request is made for a scholarly or scientific purpose and not for commercial
use
Affiliated Organization:

This information is being solicited by the Organization of Professional Aviculturist (OPA). The OPA is a non-profit
organization that supports and advocates for the conservation of avian species by encouraging cooperation between in
situ conservationists and ex situ production of specimens. It is our goal to ensure that actions of professional aviculturist
have a positive impact on the future of avian species.

Check the boxes to the right to confirm that you meet the Department's fee waiver criteria:
 - Disclosure of the information is in the public interest because it is likely to contribute significantly to public
understanding of the operations or activities of the Government.
 - Disclosure of the information is not primarily in my commercial interest.
Please explain why your request for a waiver of fees or a reduction in fees is justified.: The OPA is requesting information
regarding the Wild Bird Conservation Act and relevant agency actions so as to determine if the agency is complying with
its obligations under the statute and to further determine if legal action is needed to ensure that agency appropriately
complies with its obligations. This information is not for a commercial purpose but is research undertaken by the OPA to
determine what actions the agency has so far taken to comply with its obligations under WBCA and what actions the OPA
will take in light of those actions. This information is necessary to provide the public with a greater understanding of the
government's actions and will be publicized by the OPA, without a commercial gain on our part.


The results of this submission may be viewed at:
https://www.doi.gov/node/11498/submission/477982




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United States Fish and Wildlife Service
Headquarters Freedom of Information Act Office
MS: IRTM
5275 Leesburg Pike
Falls Church, VA 22041
  Case 1:19-cv-20195-JLK Document 8-1 Entered on FLSD Docket 04/19/2019 Page 25 of 130


                                                                                   Tapia, Brenda <brenda_tapia@fws.gov>



New Request (4); Fwd: FOIA from: David A. Garcia
FOIA, FWHQ <fwhq_foia@fws.gov>                                                                  Wed, Oct 17, 2018 at 9:53 AM
To: dgarcia@pradaurizar.com
Cc: Brenda Tapia <brenda_tapia@fws.gov>, Mary Cogliano <mary_cogliano@fws.gov>

 Dear David A. Garcia,

 The United States Fish and Wildlife Service (FWS) Headquarters FOIA Office received your request dated October 15,
 2018. We have forwarded your request to our Division of Management Authority (DMA) for processing. You will receive
 a formal acknowledgement shortly; which will include DMA contact information in case you have any questions or
 concerns regarding this FOIA request.

 Respectfully,

 United States Fish and Wildlife Service
 Headquarters Freedom of Information Act Office
 MS: IRTM
 5275 Leesburg Pike
 Falls Church, VA 22041

 ---------- Forwarded message ---------
 From: U.S. Department of the Interior <doi-webforms@ios.doi.gov>
 Date: Mon, Oct 15, 2018 at 12:59 PM
 Subject: FOIA from: David A. Garcia
 To: <fwhq_foia@fws.gov>


 Submitted on Monday, October 15, 2018 - 1:00pm
 Submitted by anonymous user: [10.156.8.158]
 Submitted values are:
 Your Name: David A. Garcia
 Mailing Address: 3191 Coral Way Ste. 607
 City: Miami
 State or Country: FL
 Zip or Postal Code: 33145
 Address Type: Business
 Daytime Phone Number: 3055109312
 Fax Number:
 E-mail Address: dgarcia@pradaurizar.com
 Confirm E-mail Address : dgarcia@pradaurizar.com
 Your Organization: Organization of Professional Aviculturist (OPA)
 Are you filing the request on behalf of another party? No
 If so, who are you filing the request on behalf of?
 Contact Information Certification: I certify that the above statement(s) concerning who I am filing the request on behalf of
 are true and correct to the best of my knowledge and belief. If I want to receive greater access to records about a person I
 represent, I will submit proof that the person consents to the release of the records to me, as discussed in 43 C.F.R. §
 2.9.
 Bureau/Office: Fish & Wildlife Service (FWS)
 Relevant park, refuge, site or other location:
 Request Description: The OPA requests from FWS all internal documents, memoranda, policy manuals, guidance,
 training manuals, etc. relating to the approval of permits for import or export of exotic avian species into or out of the
 United States.
 Requester's Communication Preferences: Electronic communication via email
 Document Disclosure Preferences: Electronic copies via email
 Select the applicable reason why you are requesting expedited processing:
 Justification for Expedited Processing:
 Expedited Processing Certification: I certify that the above statement(s) concerning expedited processing are true and
Case 1:19-cv-20195-JLK Document 8-1 Entered on FLSD Docket 04/19/2019 Page 26 of 130
correct to the best of my knowledge and belief.
Please select the appropriate statement: I am requesting a waiver or reduction of fees.
I agree to pay fees up to this particular amount: $100
To assist in determining my requester category to assess fees, you should know that I am: affiliated with an educational or
noncommercial scientific institution and this request is made for a scholarly or scientific purpose and not for commercial
use
Affiliated Organization:
This information is being solicited by the Organization of Professional Aviculturist (OPA). The OPA is a non-profit
organization that supports and advocates for the conservation of avian species by encouraging cooperation between in
situ conservationists and ex situ production of specimens. It is our goal to ensure that actions of professional aviculturist
have a positive impact on the future of avian species.

Check the boxes to the right to confirm that you meet the Department's fee waiver criteria:
 - Disclosure of the information is in the public interest because it is likely to contribute significantly to public
understanding of the operations or activities of the Government.
 - Disclosure of the information is not primarily in my commercial interest.
Please explain why your request for a waiver of fees or a reduction in fees is justified.: The OPA is requesting information
regarding the Wild Bird Conservation Act and relevant agency actions so as to determine if the agency is complying with
its obligations under the statute and to further determine if legal action is needed to ensure that agency appropriately
complies with its obligations. This information is not for a commercial purpose but is research undertaken by the OPA to
determine what actions the agency has so far taken to comply with its obligations under WBCA and what actions the OPA
will take in light of those actions. This information is necessary to provide the public with a greater understanding of the
government's actions and will be publicized by the OPA, without a commercial gain on our part.


The results of this submission may be viewed at:
https://www.doi.gov/node/11498/submission/477983




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United States Fish and Wildlife Service
Headquarters Freedom of Information Act Office
MS: IRTM
5275 Leesburg Pike
Falls Church, VA 22041
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                                                                                   Tapia, Brenda <brenda_tapia@fws.gov>



Fwd: FOIA from: David A. Garcia
FOIA, FWHQ <fwhq_foia@fws.gov>                                                                  Tue, Feb 19, 2019 at 8:45 AM
To: Brenda Tapia <brenda_tapia@fws.gov>, Patricia Ford <patricia_ford@fws.gov>
Cc: Carrie Hyde-Michaels <carrie_hyde-michaels@fws.gov>

 This is the 5th one. Is DMA working on this one or DSA? What is the EFTS number?

 ---------- Forwarded message ---------
 From: U.S. Department of the Interior <doi-webforms@ios.doi.gov>
 Date: Mon, Oct 15, 2018 at 1:03 PM
 Subject: FOIA from: David A. Garcia
 To: <fwhq_foia@fws.gov>


 Submitted on Monday, October 15, 2018 - 1:03pm
 Submitted by anonymous user: [10.156.8.158]
 Submitted values are:
 Your Name: David A. Garcia
 Mailing Address: 3191 Coral Way Ste. 607
 City: Miami
 State or Country: FL
 Zip or Postal Code: 33145
 Address Type: Business
 Daytime Phone Number: 3055109312
 Fax Number:
 E-mail Address: dgarcia@pradaurizar.com
 Confirm E-mail Address : dgarcia@pradaurizar.com
 Your Organization: Organization of Professional Aviculturist (OPA)
 Are you filing the request on behalf of another party? No
 If so, who are you filing the request on behalf of?
 Contact Information Certification: I certify that the above statement(s) concerning who I am filing the request on behalf of
 are true and correct to the best of my knowledge and belief. If I want to receive greater access to records about a person I
 represent, I will submit proof that the person consents to the release of the records to me, as discussed in 43 C.F.R. §
 2.9.
 Bureau/Office: Fish & Wildlife Service (FWS)
 Relevant park, refuge, site or other location:
 Request Description: The OPA requests from FWS all documents relating to its interpretation of its obligations under
 WBCA.
 Requester's Communication Preferences: Electronic communication via email
 Document Disclosure Preferences: Electronic copies via email
 Select the applicable reason why you are requesting expedited processing:
 Justification for Expedited Processing:
 Expedited Processing Certification: I certify that the above statement(s) concerning expedited processing are true and
 correct to the best of my knowledge and belief.
 Please select the appropriate statement: I am requesting a waiver or reduction of fees.
 I agree to pay fees up to this particular amount: $100
 To assist in determining my requester category to assess fees, you should know that I am: affiliated with an educational or
 noncommercial scientific institution and this request is made for a scholarly or scientific purpose and not for commercial
 use
 Affiliated Organization: This information is being solicited by the Organization of Professional Aviculturist (OPA). The OPA
 is a non-profit organization that supports and advocates for the conservation of avian species by encouraging cooperation
 between in situ conservationists and ex situ production of specimens. It is our goal to ensure that actions of professional
 aviculturist have a positive impact on the future of avian species.
 Check the boxes to the right to confirm that you meet the Department's fee waiver criteria:
  - Disclosure of the information is in the public interest because it is likely to contribute significantly to public
 understanding of the operations or activities of the Government.
  - Disclosure of the information is not primarily in my commercial interest.
 Please explain why your request for a waiver of fees or a reduction in fees is justified.: The OPA is requesting information
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regarding the Wild Bird Conservation Act and relevant agency actions so as to determine if the agency is complying with
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complies with its obligations. This information is not for a commercial purpose but is research undertaken by the OPA to
determine what actions the agency has so far taken to comply with its obligations under WBCA and what actions the OPA
will take in light of those actions. This information is necessary to provide the public with a greater understanding of the
government's actions and will be publicized by the OPA, without a commercial gain on our part.


The results of this submission may be viewed at:
https://www.doi.gov/node/11498/submission/477985




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United States Fish and Wildlife Service
Headquarters Freedom of Information Act Office
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Falls Church, VA 22041
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                              Exhibit B
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   In Reply Refer To:
   FWS/IA/DMA




   Lic. Pablo Edgardo Mesa
   Director Nacional de Ordenamiento Ambiental y Conservación de la Biodiversidad
   Subsecretaría de Planificación y Política Ambiental
   Secretaría de Ambiente y Desarrollo Sustentable
   San Martín 451
   piso 2, oficina 261
   1104 Buenos Aires
   Argentina


   By e-mail to pemesa@ambiente.gov.ar


   Dear Mr. Mesa:

   I am contacting you in order to obtain current information on the status of Project Elé, which
   involves the removal of live specimens of Amazona aestiva from the wild for export. For over
   10 years we have had under consideration a petition from the Government of Argentina to
   approve this project to allow imports under the U.S. Wild Bird Conservation Act (WBCA).
   Under the WBCA, we may approve imports from a country for species subject to a sustainable-
   use management plan that meets specific criteria established in our regulations.

   Unfortunately, we have been unable to approve the program and allow the import of birds
   derived from it. However, we also have not rejected the petition. Because the approval of a
   program under the WBCA is a regulatory action, this has remained as a pending action for
   several years, and we must now conclude the action by either approving or disapproving
   Argentina’s program. It is very unlikely that we could approve the program based on the
   information we have on file. Furthermore, it is likely that the program has continued to evolve
   so that the information we have is no longer current. Therefore, we suggest that the petition
   from Argentina be withdrawn. If the petition is withdrawn, it prevents us from taking a negative
   action (disapproving the petition). Please note that withdrawal of the current petition does not
   prevent the submission of a new petition; indeed, a revised petition with up-to-date information
   could be submitted for consideration.
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   Please advise as to whether you wish to withdraw the petition for approval of imports of
   Amazona aestiva into the United States or if you prefer that we take a decision on this matter. If
   you are not the appropriate person to respond on this matter, please refer it to the correct office.

   We look forward to your response and thank you for your attention to this matter.

                                                 Sincerely,


                                                 Robert R. Gabel, Chief
                                                 Division of Management Authority
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                                Argentina letter translation: Paraphrased
                                  Jorgenson/DSA: October 24, 2014



   Chief of the Cabinet of Ministers
   Ministry of the Environment of Sustainable Development

   Buenos Aires
   Reference No. 409
   [undated]

   Mr. Robert R. Gabel
   Chief of the Division of Management Authority
   U.S. Fish and Wildlife Service
   4401 N Fairfax Drive, Room 212
   Arlington, Virginia 22203-3247 USA

   Dear Mr. Gabel:

   I would like to take this opportunity to address your comments made in response to the petition
   presented by my country with regard to the export of Amazona aestiva in the context of the Elé
   Project.

   In this regard, I would like to inform you that we have decided to withdraw the petition for the
   exportation of live specimens of this species that is mentioned in the context of the regulations
   for the U.S. Wildlife Bird Conservation Act (WBCA).

   As was mentioned in your note, in our country programs for the sustainable use of wildlife are
   being reformulated. Specifically, Amazona aestiva is included among those species that must be
   certified prior to exportation that they originate from properties with forestry management plans.
   This has generated the development of administrative and technical mechanisms based on an
   ecosystem perspective that go much beyond the traditional sustainable management criteria for
   species.

   Finally, my understanding is that this letter is sufficient notification for the withdrawal of the
   petition.

   Sincere greetings,

   /s/

   Lic. Pablo E. Mesa
   National Director of Environmental Management
          and Biodiversity Conservation
   Ministry of the Environment of Sustainable Development
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 LEGAL STATUS



                                                                                                                                     LEGAL STATUS



 Wild Bird Conservation Act; Blue-Fronted Amazon Parrots From Argentina's Sustainable-Use Management Plan
 A Proposed Rule by the Fish and Wildlife Service on 12/21/2015




 DOCUMENT DETAILS

  Printed version:
   PDF (https://www.govinfo.gov/content/pkg/FR-2015-12-21/pdf/2015-32054.pdf)

  Publication Date:
   12/21/2015 (/documents/2015/12/21)

  Agencies:
   Fish and Wildlife Service (https://www.federalregister.gov/agencies/fish-and-wildlife-service)

  Dates:
   This document is withdrawn as of December 21, 2015.

  Document Type:
   Proposed Rule

  Document Citation:
   80 FR 79300

  Page:
   79300-79301 (2 pages)

  CFR:
   50 CFR 23

  Agency/Docket Numbers:
   Docket No. FWS-HQ-IA-2015-0035
   96300-1671-0000-R4

  RIN:
   1018-AH89 (https://www.federalregister.gov/regulations/1018-AH89/importation-of-exotic-wild-birds-adding-blue-fronted-amazon-parrots-from-
     argentina-s-approved-sustai)

  Document Number:
   2015-32054


                                                                                                                                DOCUMENT DETAILS


 DOCUMENT STATISTICS

  Page views:
   89
   as of 02/25/2019 at 2:15 pm EST


                                                                                                                             DOCUMENT STATISTICS


 ENHANCED CONTENT




  Docket Number:
   FWS-HQ-IA-2015-0035 (https://www.regulations.gov/docket?D=FWS-HQ-IA-2015-0035)

  Docket Name:
   Wild Bird Conservation Act; Withdrawal of Proposed Rule to Add Blue-Fronted Amazon Parrots from Argentina's Sustainable-Use Management Plan

  Docket RIN




 https://www.federalregister.gov/documents/2015/12/21/2015-32054/wild-bird-conservatio... 2/25/2019
 Federal Register :: Wild Bird Conservation Act; Blue-Fronted Amazon Parrots From Arg... Page 2 of 3
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   1018-AH89 (https://www.federalregister.gov/regulations/1018-AH89/importation-of-exotic-wild-birds-adding-blue-fronted-amazon-parrots-from-
    argentina-s-approved-sustai)


                                                                                                                               ENHANCED CONTENT


 PUBLISHED DOCUMENT




    AGENCY:
    Fish and Wildlife Service, Interior.


    ACTION:
    Proposed rule; withdrawal.


    SUMMARY:
    We, the U.S. Fish and Wildlife Service (Service, or we), withdraw a 2003 proposed rule to approve a
    sustainable-use management plan developed by the Management Authority of Argentina for blue-fronted
    amazon parrots (Amazona aestiva), under the Wild Bird Conservation Act of 1992. We are taking this action
    because Argentina has withdrawn their application. As a result, we will no longer consider allowing
    importation of this species from Argentina under this plan.


    DATES:
    This document is withdrawn as of December 21, 2015.


    FOR FURTHER INFORMATION CONTACT:
    Craig Hoover, Chief, Division of Management Authority, U.S. Fish and Wildlife Service Headquarters, MS:
    IA; 5275 Leesburg Pike, Falls Church, VA 22041-3803; telephone 703-358-2095; facsimile 703-358-2298. If
    you use a telecommunications device for the deaf (TDD), call the Federal Information Relay Service (FIRS)
    at 800-877-8339.


    SUPPLEMENTARY INFORMATION:
    Background
    The Convention on International Trade in Endangered Species of Wild Fauna and Flora (CITES) is an
    international treaty designed to regulate international trade in certain animal and plant species that are now,
    or may become, threatened with extinction. These species are listed in the Appendices to CITES, which are
    available on the CITES Secretariat's Web site at http://www.cites.org/eng/app/appendices.php
    (http://www.cites.org/eng/app/appendices.php). Currently 180 countries and the European Union have
    ratified, accepted, approved, or acceded to CITES; these 181 entities are known as Parties. The U.S. Fish
    and Wildlife Service has been delegated authority to carry out U.S. responsibilities under CITES.
    The Wild Bird Conservation Act of 1992 (WBCA) limits or prohibits import into the United States of exotic bird
    species to ensure that their wild populations are not harmed by international trade. It also encourages wild
    bird conservation programs in countries of origin by ensuring that all imports of such species are biologically
    sustainable and not detrimental to the survival of the species.

    Previous Federal Actions
    On November 16, 1993, we published a final rule in the Federal Register (58 FR 60524) that implemented
    the prohibitions stipulated in the WBCA and provided permit requirements and procedures for some allowed
    exemptions. In that rule, we informed the public that imports of all CITES-listed birds (as defined in the rule)
    were prohibited, except for (a) species included in an approved list; (b) specimens for which an import permit
    has been issued; (c) species from countries that have approved sustainable-use management plans for
    those species; or (d) specimens from approved foreign captive-breeding facilities. Criteria for approval of
    sustainable-use management plans are in title 50 of the Code of Federal Regulations at 50 CFR 15.32
    (/select-citation/2015/12/21/50-CFR-15.32).
    Argentina petitioned the Service to allow the import into the United States of blue-fronted amazon parrots
    (Amazona aestiva) removed from the wild in Argentina under an approved sustainable-use management
    plan. Consequently, on August 10, 2000, we published a notice of receipt of application for approval in the
    Federal Register (65 FR 49007 (/citation/65-FR-49007)) that announced the receipt of a petition from the
    CITES Management Authority of Argentina, Dirección de Fauna and Flora Silvestre, for approval of a
    sustainable-use management plan for the blue-fronted amazon parrot in Argentina. On January 8, 2003, we




 https://www.federalregister.gov/documents/2015/12/21/2015-32054/wild-bird-conservatio... 2/25/2019
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    published a notice in the Federal Register (68 FR 1066 (/citation/68-FR-1066)) announcing the availability
    of a draft environmental assessment of the addition of blue-fronted amazon parrots from a sustainable-use
    management plan in Argentina to the approved list of non-captive-bred birds under the WBCA.
    Later that year, on August 6, 2003, we published a proposed rule in the Federal Register (68 FR 46559
    (/citation/68-FR-46559)) to approve a sustainable-use management plan developed by the CITES
    Management Authority of Argentina for blue-fronted amazon parrots under the WBCA. The proposed rule
    would add blue-fronted amazon parrots from Argentina's program to the approved list of non-captive-bred
    (wild-caught) species contained at 50 CFR 15.33 (/select-citation/2015/12/21/50-CFR-15.33)(b). The                Start Printed
    public comment period on the proposed rule was open for 60 days.                                                  Page 79301
    On March 29, 2005, we published a notice in the Federal Register (70 FR 15798 (/citation/70-FR-15798))
    reopening the comment period on the proposed rule for 30 days to enter into the record Dr. Jorge
    Rabinovich's 2004 study, “Modeling the Sustainable Use of the Blue-Fronted Parrot (Amazona aestiva) in
    the Dry Chaco Region of Argentina,” and to accept comments related to the relationship of this study to the
    proposed addition of blue-fronted amazon parrots from Argentina's program to the approved list of non-
    captive-bred (wild-caught) species under the WBCA. On May 24, 2005, we published a notice in the Federal
    Register (70 FR 29711 (/citation/70-FR-29711)) reopening the comment period for an additional 45 days.


    Reason for Withdrawal of Proposed Rule
    We reviewed the public comments received during the open comment periods for the notice and the proposed
    rule and new information that became available after the publication of the proposed rule. We also
    reevaluated information in our files, our proposed rule, and Argentina's request, in accordance with our
    approval criteria in 50 CFR 15.32 (/select-citation/2015/12/21/50-CFR-15.32). As a result, we determined that
    it was unlikely that we would be able to make a positive finding for the sustainable-use management plan
    developed by Argentina for blue-fronted amazon parrots under the WBCA. Subsequently, Argentina
    determined that the best course of action would be to withdraw their application. Argentina withdrew its
    application by letter (undated) from the CITES Management Authority of Argentina (Ministry of the
    Environment of Sustainable Development), therefore, we are withdrawing our proposed rule of August 6, 2003
    (68 FR 46559 (/citation/68-FR-46559)).


    Author
    The primary author of this document is Clifton A. Horton, Division of Management Authority, U.S. Fish and
    Wildlife Service (see FOR FURTHER INFORMATION CONTACT).


    Authority
    The authority for this action is the Endangered Species Act of 1973, as amended (16 U.S.C. 1531
    (https://api.fdsys.gov/link?collection=uscode&title=16&year=mostrecent&section=1531&type=usc&link-
    type=html) et seq.).
    Dated: December 9, 2015.
    Stephen Guertin,
    Acting Director, U.S. Fish and Wildlife Service.
    [FR Doc. 2015-32054 (/a/2015-32054) Filed 12-18-15; 8:45 am]
    BILLING CODE 4333-15-P
                                                                                                                    PUBLISHED DOCUMENT




 https://www.federalregister.gov/documents/2015/12/21/2015-32054/wild-bird-conservatio... 2/25/2019
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DEPARTMENT OF THE INTERIOR
50 CFR Part 15
RIN 1018-AC15


Importation of Exotic Wild Birds to the United States; Final Rule
Implementing the Wild Bird Conservation Act of 1992

AGENCY: Fish and Wildlife Service, Interior.

ACTION: Final rule.

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SUMMARY: On October 23, 1992, the Wild Bird Conservation Act of 1992
(WBCA) was signed into law, the purposes of which include promoting the
conservation of exotic birds by: Ensuring that all imports of exotic
bird species into the United States are biologically sustainable and
not detrimental to the species; ensuring that imported birds are not
subject to inhumane treatment during capture and transport; and
assisting wild bird conservation and management programs in countries
of origin. This final rule implements procedures for the establishment
of an approved list of species listed in the Appendices to the
Convention on International Trade in Endangered Species of Wild Fauna
and Flora that may be imported without a WBCA permit because it has
been determined that trade in these species involves only captive-bred
specimens.

EFFECTIVE DATE: This rule is effective January 3, 1995.

FOR FURTHER INFORMATION CONTACT: Dr. Susan S. Lieberman, U.S. Fish and
Wildlife Service, Office of Management Authority, 4401 N. Fairfax
Drive, room 420C, Arlington VA 22203, telephone (703) 358-2093.

SUPPLEMENTARY INFORMATION: This final rule implements aspects of the
WBCA, which was signed into law on October 23, 1992. This is the second
of two rulemakings under the WBCA; the first final rulemaking under the
WBCA was published in the Federal Register on November 16, 1993 (58 FR
60524). The WBCA limits or prohibits imports of exotic bird species to
ensure that their wild populations are not harmed by trade. It also
encourages wild bird conservation programs in countries of origin by
both ensuring that all imports of such species into the United States
are biologically sustainable and not detrimental to the species, and by
creating an Exotic Bird Conservation Fund to provide conservation
assistance in countries of origin. The final rule of November 16, 1993,
summarized the effects of the WBCA and established procedures for
obtaining import permits authorized by the WBCA.
    An immediate moratorium, effective October 23, 1992, was
established on the importation of 10 species of wild birds of
particular concern that were listed in Appendix II of the Convention on
International Trade in Endangered Species of Wild Fauna and Flora
(CITES, or Convention), two of which were moved to Appendix I at the
March 1992 CITES meeting. The prohibition on importation of those
species was announced in the Federal Register on December 4, 1992 (57
FR 57510).
    During the one-year period immediately following enactment of the
WBCA, from October 23, 1992, to October 22, 1993, import quotas were
established for CITES-listed bird species. Those quotas were announced
in the Federal Register on December 4, 1992 (57 FR 57510). A notice
     Caseon1:19-cv-20195-JLK
published                        Document
             March 30, 1993 (58 FR          8-1 Entered
                                   16644), solicited publicon FLSD Docket
                                                            comments        04/19/2019 Page 99 of 130
and announced a public meeting, held April 15-16, 1993, to receive
input from the public for the development of regulations to implement
some of the provisions of the WBCA. Useful input was received from a
broad cross-section of interested members of the public who
participated in the meeting and submitted comments in writing; that
input has been used to develop this final rule. A notice published on
April 16, 1993 (58 FR 19840), announced species for which the quotas
had been met and no further individual birds could be imported.
    With the publication of the final rule of November 16, 1993,
imports of all CITES-listed birds (as defined in the final rule) are
prohibited, except for (a) species included in an approved list; (b)
specimens for which an import permit has been issued; (c) species from
countries that have approved management plans for those species; or (d)
specimens from approved foreign captive-breeding facilities. The U.S.
Fish and Wildlife Service (Service) published a proposed rule in the
Federal Register on March 17, 1994 (59#FR 12784), that would implement
procedures for approval of foreign captive-breeding facilities and
establishment of an approved list of species listed in the CITES
Appendices that can be imported without a WBCA permit; that approved
list is published herein.
    As a result of a lawsuit filed on February 15, 1994, by the Humane
Society of the United States and Defenders of Wildlife, and a resultant
District Court Order that found a portion of the regulation in the
November 16, 1993, Federal Register (58 FR 60524) invalid, the Service,
consistent with that Court Order, announced in the Federal Register on
May 24, 1994 (59 FR 26810), that all exotic birds listed in Appendix
III of CITES are covered by the automatic import moratorium of the
WBCA, regardless of their country of origin. A proposed rule was
published on June 3, 1994 (59 FR 28826), to promulgate that regulatory
change.
    This rule finalizes those proposals made in the Federal Register of
March 17, 1994, for the approved list of captive-bred species, with
some modifications based on comments received and further analysis by
the Service. The proposed regulations for the approval of foreign
breeding facilities and the approved list for wild-caught CITES-listed
species will be addressed in a future final rulemaking.

Comments and Information Received

    The Service received roughly 4800 comments from the public,
including over 4600 form letters from private aviculturists (bird
breeders) and comments from 6 conservation and/or animal welfare
organizations, 1 zoological organization, 2 scientific organizations, 1
representative of the pet industry, 2 private companies, 3 importers,
11 avicultural organizations, and 6 falconry/raptor breeder
organizations; the remaining comments were from other private
individuals.

Comments of a General Nature

    Several commenters, including a scientific organization, several
conservation organizations, a zoological organization, an avicultural
organization, and some private individuals, supported the criteria for
listing species on the approved list of captive-bred species and the
proposed list of captive-bred species in their entirety.
    Numerous comments contended that the proposed list of approved
captive-bred species was too restrictive and allowed for the captive
breeding of only those species on the approved list. The Service is
aware that the proposed list of approved captive-bred species has
caused misunderstanding and confusion in the avicultural community and
wishes to clarify what the WBCA and the approved list for captive-bred
species actually regulates. Neither the Wild Bird Conservation Act nor
the Service's regulations implementing Section 106 of the Act impose
new burdens or requirements on buying, selling, breeding, transport,
interstate commerce, or export of birds bred in the United States.
Those activities are not regulated by the WBCA. What the WBCA does is
to restrict imports of bird species listed in the CITES Appendices,
whether taken from the wild or bred in captivity.
    Species listed on the approved list of captive-bred species are
those species that can be imported into the United States without a
WBCA permit. This approved list of captive-bred species does not
regulate the breeding, selling, transport, interstate commerce, or
export of birds bred in the United States. Several commenters were
       Case
under the    1:19-cv-20195-JLK
          false impression that, ifDocument
                                    a species 8-1
                                              is notEntered on FLSD Docket
                                                     on the approved         04/19/2019 Page 100 of
                                                      130
list of captive-bred species, this species could not be possessed or
bred in the United States. The Service encourages such captive breeding
within the United States to meet the commercial demand for pet birds.
The Service also notes that the approved list of captive-bred species
only means that the species is approved for import without a WBCA
permit; it does not mean that the Service does not approve the breeding
of other species. The Service is in the process of working to ease the
bird breeding public's concerns by initiating a program of public
education on the WBCA and its regulations.

Comments Pertaining to Section 15.31: Criteria for Including Species in
the Approved List for Captive-Bred Species

    This section establishes the criteria for the inclusion of captive-
bred species in the approved list. Pursuant to Section 106 of the WBCA,
the Secretary of the Interior (Secretary) is required to publish a list
of species of exotic birds that are listed in an appendix to the
Convention and that are not subject to a prohibition or suspension of
importation otherwise applicable under the WBCA. In order to list a
species as exclusively captive-bred, the Service is required by the
statute to determine that the species is regularly bred in captivity
and that no wild-caught birds of the species are in trade, legally or
illegally.
    These captive-bred species can be imported into the United States
without meeting any additional requirements of the Wild Bird
Conservation Act or this Part 15; however, all of the existing
requirements in Parts 13 and 14, Part 17 (species listed as endangered
or threatened under the Endangered Species Act (ESA)), Part 21
(Migratory Bird Treaty Act), and Part 23 (species listed in the
Appendices to the Convention, or CITES) must still be complied with.
    This section establishes the following criteria for the approval of
the importation of captive-bred species:
    (a) All specimens of the species known to be in trade (legal or
illegal) must be captive-bred;
    (b) No specimens of the species can be known to be removed from the
wild for commercial purposes;
    (c) Any importation of specimens of the species must not be
detrimental to the survival of the species in the wild; and
    (d) Adequate enforcement controls must be in place in countries of
export to ensure compliance with the aforementioned paragraphs. Imports
of species approved according to the criteria of this section are not
limited to specimens originating from qualifying facilities as
described under Subpart E of this Part.
    If a species is bred in captivity in large numbers, but individual
birds of that species are frequently, sometimes, or even rarely taken
from the wild, or if there are enforcement concerns that illegal trade
occurs in the species, the statute does not allow that species to be
included as a captive-bred species. However, individual captive-bred
birds may still be imported into the United States under one of the
following conditions: (1) the foreign breeding facility could be
approved pursuant to Subpart E of this Part 15; or (2) a permit for an
individual import could be obtained pursuant to Subpart C, if the
requirements of that Subpart are met.
    As established in the WBCA, the Service will periodically review
the list of species that meet the approval criteria for the importation
of captive-bred species. Any changes [additions and/or deletions] to
this approved list will be proposed in the Federal Register for public
comment, followed by a final rule in which the proposed changes will be
made or an explanation provided for not making them.
    Numerous commenters, including 762 form letters from aviculturists,
requested that all captive-bred birds be exempted from the WBCA and its
implementing regulations. The Service disagrees, since that is not
allowed by the statute. One of the purposes of the WBCA is to assist
wild bird conservation and management in the countries of origin.
However, except for the 10 bird families specifically exempted from the
WBCA, the WBCA applies to all species of exotic birds being exported
from any country, whether individual birds are of captive or wild
origin. In passing the WBCA, Congress recognized that there are serious
concerns that wild-caught birds are often intentionally misrepresented
as captive-bred. For this reason, the law specifies criteria for the
import of captive-bred species; it does not simply exempt them.
Furthermore, the Service is aware of illegal trade whereby wild-caught
birds are misrepresented as captive-bred and laundered as captive-bred
birds. Case  1:19-cv-20195-JLK
       Therefore,                  Document
                  it would be inconsistent    8-1
                                           with bothEntered on language
                                                     the plain  FLSD Docket   04/19/2019 Page 101 of
and intent of the statute to exempt entirely all birds130
                                                       that are claimed
to be bred in captivity from the provisions of the law. However, the
Service notes that, in addition to the list of approved captive-bred
species, several other ways exist to import captive-bred birds into the
United States under the WBCA.
    Numerous commenters objected to the Service's use of the standards
adopted by the State of New York with respect to establishing the
criteria for including species in the approved list for captive-bred
species, and commented that such standards were too restrictive. The
Service disagrees. The Service was advised to adopt such standards by
the House of Representatives Committee Report for the WBCA. The House
Merchant Marine and Fisheries Committee advised the Service ``to use
the standards adopted by the State of New York with respect to
importation of captive-bred species, and include such species on the
approved list under this section, as long as the Secretary believes
that trade based on these standards will not result in harm to species
in the wild'' [House Report No. 102-749 (I) pages 1602-1603]. These
standards would include species of exotic birds in the approved list if
the species is regularly bred in captivity and none are taken from the
wild for trade. Many commenters stated that many more species are bred
in captivity than occur on the New York State Approved List of Captive-
bred Species and that this list was adopted years ago when avicultural
techniques were not as developed as they are today. The Service agrees
that many more species are bred in captivity now than when New York
State developed its regulations and approved list. The Service has
adopted the standards used by New York State in developing its criteria
for the approval of captive-bred species, and has included many species
that are not found on the New York State approved list of captive-bred
species.
    Animal welfare organizations and one conservation organization
supported the criteria for including species on the approved list of
captive-bred species, but requested that additional criteria be added
to conform to CITES requirements for the humane transport of live
animals. They requested that species experiencing 10% or higher
mortality in transit or 15% or higher mortality in quarantine not be
included on the approved list of captive-bred species. Although the
Service is concerned about the humane treatment and transport of all
birds, it disagrees that such criteria are required for including
species on the approved list of captive-bred species. The Service
implements requirements for the humane and healthful transport of live
birds imported into the United States through its implementation of the
Lacey Act humane and healthful transport requirements, found in 50 CFR
Part 14. In including species on the approved list of captive-bred
species, the Service is required to determine that the species is
regularly bred in captivity and no wild-caught birds of the species are
in trade, legally or illegally. The Service notes as well that
mortalities in shipments of birds that are bred in captivity tend to be
lower than those of wild-caught birds.
    Several aviculturists commented that the approved list of captive-
bred species should include species where captive breeding of the
species is needed to conserve the species. The Service recognizes the
contribution that captive breeding may make to the conservation of some
species, but the statute does not instruct the Secretary to list a
species on the approved list of captive-bred species using such
criteria. If an ex-situ captive-breeding program is needed for a
species' conservation, wild-caught or captive-bred birds may be
imported from approved overseas breeding facilities, from countries
with approved management plans, and for scientific research, zoological
breeding, and approved cooperative breeding programs under WBCA permits
available from the Service. The Service notes that cooperative breeding
programs encourage such conservation efforts.
    Several aviculturists commented that the approved list of captive-
bred species would cause a loss of genetic diversity in captive
populations of birds in the U.S. and restrict access to new bloodlines
for a species' conservation. The Service disagrees and notes that birds
which are not on the approved list of captive-bred species may still be
imported into the U.S. under the WBCA in several other ways: from
approved overseas breeding facilities, from countries with approved
management plans, and for scientific research, zoological breeding, and
approved cooperative breeding programs. Congress included the
exemptions for zoological breeding and cooperative breeding programs
for just this purpose. The Service notes that it is not the intent of
approval of captive-bred species to enhance conservation of a species,
       Caseto1:19-cv-20195-JLK
but rather    facilitate imports ofDocument
                                    specimens 8-1   Entered
                                               that in no way on FLSD Docket
                                                               impact          04/19/2019 Page 102 of
wild populations.                                      130
    Numerous aviculturists (including 2318 represented by form
letters), a representative of the pet industry, avicultural groups, and
several importers commented that any species that is regularly captive-
bred, and that is prohibited from export for the pet trade by its
country of origin, should be listed on the approved list of captive-
bred species (regardless of enforcement concerns). For example, they
recommend that all species which are regularly bred in captivity and
are indigenous solely to Australia, a country from which there is no
legal avian trade in wild-caught birds, should be listed on the
approved list of captive-bred species. The Service disagrees. There
remain problems in adequate regulatory and enforcement mechanisms in
many countries of origin for species which are subject to illegal
trade. Adoption of this recommendation would lead to the logically
absurd conclusion to list all indigenous parrots of Mexico on the
approved list of captive-bred species because Mexico bans their export.
Since there exists a flourishing domestic trade in wild-caught parrots
in Mexico and their subsequent illegal export to the U.S., such
inclusion on the approved list would undermine species conservation, as
well as Mexico's enforcement efforts. We cannot adopt this
recommendation, which is counter to the purpose of the statute and the
intent of Congress.
    Several aviculturists, some importers, and a raptor breeders'
organization commented that species should be listed on the approved
list of captive-bred species, on a country-by-country basis, if they
are reliably bred in captivity in a specific country only. For example,
Saker falcons from Great Britain would be listed on the approved list
of captive-bred species because they are reliably captive-bred in Great
Britain. The Service disagrees and is making no changes based on these
comments. The statute does not provide for species listings in such a
country-by-country manner. However, the qualifying overseas breeding
facilities can be listed by the country from which the species is to be
imported.
    The representative of the pet industry and a national avicultural
organization objected to Section 15.31 (a) stating that it is
inappropriate for the Service to require that all specimens of the
species known to be in trade (legal or illegal) be captive-bred. They
consider trade to be legal trade only and that illegal trade should not
be considered to be trade. They recommend that the Service not take
illegal trade into consideration. The Service strongly disagrees and
recognizes that it was Congress' intent to prevent the illegal trade in
birds, which is detrimental to species' survival, and the laundering of
wild-caught birds as captive-bred specimens. The Service notes that,
for any species, trade includes both legal and illegal trade. Article I
of the CITES Convention defines trade as ``export, re-export, import
and introduction from the sea'' and does not differentiate legal from
illegal. For the purposes of implementing this law, the Service agrees
with the authors of the CITES Convention, as well as the reality of
international trade, that trade has both legal and illegal components.
    The Service originally proposed that Section 15.31 (b) read ``no
specimens of the species can be known to be removed from the wild for
the pet bird market.'' In its review of the comments, the Service noted
that several commenters were confused by this wording and the Service
has changed Section 15.31 (b) to read ``no specimens of the species can
be known to be removed from the wild for commercial purposes.'' If in
the future wild-caught specimens are imported to the U.S. for the
exemptions allowed under the WBCA for scientific research, zoological
breeding or display, personal pets, or approved cooperative breeding
programs, such importations would not preclude listing the species in
the approved list of captive-bred species when the species is reliably
bred in captivity and all specimens imported for commercial purposes
are captive-bred. Commercial purposes includes but is not limited to
the pet market (it also includes travelling animal acts, circuses, and
other uses which result in financial benefit).
    The representative of the pet industry and a national avicultural
organization objected to Section 15.31 (c) stating that ``inasmuch as
the listing process requires that no wild-caught specimens are in
trade, there is no necessity even to address the non-detriment issue''
and that such a requirement is beyond the scope of the WBCA. The
Service disagrees. One of the stated purposes of the WBCA is to ensure
that all trade in species of exotic birds involving the U.S. is
biologically sustainable and is not detrimental to the species. The
WBCA requires the Service to make such a finding before listing species
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       approved                    Document
                list of captive-bred species. 8-1  Entered
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                                                          was   FLSD Docket   04/19/2019 Page 103 of
                                                      130
advised to adopt such standards by the House of Representatives
Committee Report for the WBCA. In this Committee Report, the Secretary
was advised ``to use the standards adopted by the State of New York
with respect to importation of captive-bred species, and include such
species on the approved list under this section, as long as the
Secretary believes that trade based on these standards will not result
in harm to species in the wild'' [House Report No. 102-749 (I) pages
1602-1603].
    Furthermore, the Service believes that if the inclusion of any
species on an approved list could be detrimental to the survival of the
species in the wild, the intent of Congress, the purposes of the WBCA
and the ``non-detriment'' requirements of CITES for Appendix II species
are such that the species should not be included in the approved list.
The Service cannot list a species in the approved list if such listing
could undermine the conservation of wild bird species in the wild.
Therefore, the Service is making no changes based on these comments.
    Several aviculturists and one conservation organization expressed
confusion over Section 15.31 (d). They note that adequate enforcement
controls should be in place in countries of export of captive-bred
birds, as well as in countries of origin of the wild populations. The
Service agrees and notes that it is just as critical that enforcement
be in place and adequate in range countries as it be in place in
exporting countries. The Service notes that adequate enforcement in
exporting countries is critical to ensure that wild-caught birds will
not be misrepresented and laundered as captive-bred birds. Adequate
enforcement is critical to implementation of CITES, a specified purpose
of the WBCA. Therefore, the Service has modified 15.31 (d) accordingly.

General Comments Pertaining to Section 15.33: Species Included in the
Approved List for Captive-Bred Species

    This section establishes a list of approved captive-bred species,
based on the criteria in Section 15.31. The Service used the best
information available, including records of imports into the United
States of both wild-caught and captive-bred birds for the years 1988-
1992, CITES annual reports, published reports on the bird trade, law
enforcement data on the commercial trade in captive-bred species, law
enforcement and intelligence information on the illegal trade in exotic
bird species, information from the CITES Secretariat, and information
from other governments. The final list of approved species includes 45
captive-bred exotic bird species and the color mutations for 3 captive-
bred species that can be imported from any other country without a WBCA
permit; other applicable requirements still apply, including any
permits or documents required by CITES, other federal laws, and the
exporting country.
    The Service has included in the approved list of captive-bred
species several exotic bird species that are not listed in any Appendix
to the Convention but are regularly bred in captivity and are not taken
from the wild. Although these species are not listed in an Appendix and
thus are not presently prohibited under the WBCA, these species are
included in the list for the convenience of the public. If any of these
species were to become listed in CITES Appendix I, II, or III, their
importation would remain exempt from the provisions of the WBCA,
pursuant to this section. To ensure that there is no confusion, even if
the species or higher taxon to which it belongs were subsequently
listed in the Appendices to the Convention, the Service would still
consider it to be an approved captive-bred species pursuant to this
subpart D.
    Several commenters supported the approved list of captive-bred
species published in the March 17, 1994 Federal Register notice,
whereas numerous commenters suggested specific additions of parrot and
finch species to the approved list. The Service reviewed information
available to it for all of these species, based on the criteria in
Section 15.31. These comments are addressed below.
    Several falconry/raptor breeder organizations commented that all
birds in the order Falconiformes should be exempted from the WBCA and
its implementing regulations. The Service disagrees and cannot exempt
entire families of birds that Congress did not choose to exempt. Except
for the 10 bird families specifically exempted by the WBCA, the WBCA
applies to all species of exotic birds being exported from any country,
whether individual birds are of captive or wild origin. However, the
Service notes that raptors can be imported into the United States in
several ways, including under permit requirements for scientific
       Case
research,    1:19-cv-20195-JLK
          cooperative              Document
                      breeding programs,      8-1 Entered
                                         or zoological       on or
                                                        display FLSD Docket   04/19/2019 Page 104 of
breeding.                                             130
    Several commenters expressed concerns that once this list of
approved captive-bred species is published, no additional species could
be added to the list. That is not the case. As new information becomes
available, and as captive breeding becomes more successful, the Service
may propose modifications to this list of approved captive-bred
species, including the inclusion of additional species.
    Some of the species recommended by several commenters for inclusion
in the list of approved captive-bred species are very rare in
aviculture, and there are few records of their international trade,
either in the United States or elsewhere. The Service has not included
such species in the approved list, and notes that a purpose of the list
of approved captive-bred species is to facilitate commercial
importation of captive-bred species, whose trade in no way can be
detrimental to populations of these species in the wild. The
fundamental purpose of the WBCA is conservation of exotic bird species
in the wild. For species that are rare in aviculture, individual
captive-bred birds may be imported for approved cooperative breeding
programs, zoological breeding and display, or scientific research,
pursuant to Subpart C of this part.

Comments on Specific Species

    Several commenters suggested specific species for inclusion in the
approved list of captive-bred species, which are addressed as follows:

Psittacines That Cannot Be Added to the Approved List

    The Service found that the following psittacine species could not
be added to the approved list of captive-bred species because they did
not meet the criteria for approval in Sec. 15.31(a), and that wild-
caught birds are in trade and have been imported into the United
States: Red-faced lovebird (Agapornis pullaria), Fischer's lovebird
(Agapornis fischeri), Madagascar or Grey-headed lovebird (Agapornis
cana), Green-winged king parrot (Alisterus chloropterus), Amboina king
parrot (Alisterus amboinensis), Blue-fronted amazon (Amazona aestiva),
Yellow-crowned Amazon (Amazona ochrocephala), Orange-winged Amazon
(Amazona amazonica), Mealy Amazon (Amazona farinosa), Red-winged Parrot
(Aprosmictus erythropterus), Scarlet macaw (Ara macao), Blue and yellow
macaw (Ara ararauna), Green-winged macaw (Ara chloroptera), Golden-
crowned conure (Aratinga aurea), Orange-fronted conure (Aratinga
canicularis), Golden-capped Conure (Aratinga auricapilla), Andean or
Sierra Parakeet (Bolborhynchus aymara), Tovi or orange-chinned Parakeet
(Brotogeris jugularis), Canary-winged parakeet (Brotogeris
versicolurus), Citron-crested cockatoo (Cacatua sulphurea
citrinocristata), White or umbrella cockatoo (Cacatua alba), Salmon-
crested Cockatoo (Cacatua moluccensis), Lesser sulphur-crested Cockatoo
(Cacatua sulphurea), Greater sulphur-crested cockatoo (Cacatua
galerita), Triton cockatoo (Cacatua galerita triton), Bare-eyed
cockatoo (Cacatua sanguinea), Ducorp's cockatoo (Cacatua ducorpsii),
Goffin's cockatoo (Cacatua goffini), Red-vented cockatoo (Cacatua
haematuropygia), Duyvenbode's lory (Chalcopsitta duivenbodei), Yellow-
streaked lory (Chalcopsitta scintillata), Stella's lorikeet (Charmosyna
papou), Red-flanked lorikeet (Charmosyna placentis), Vasa parrot
(Coracopsis vasa), Eclectus parrot (Eclectus roratus), Austral conure
(Enicognathus ferrugineus), Blue-streaked lory (Eos reticulata), Red
lory (Eos bornea), Pacific parrotlet (Forpus coelestis), Green-rumped
parrotlet (Forpus passerinus), Blue-winged parrotlet (Forpus
xanthopterygius), Chattering lory (Lorius garrulus), Black-headed
caique (Pionites melanocephala), White-crowned Pionus (Pionus senilis),
Meyer's parrot (Poicephalus meyeri), Senegal parrot (Poicephalus
senegalus), Moustache parakeet, (Psittacula alexandri), Derbyan
parakeet (Psittacula derbiana), Alexandrine parakeet (Psittacula
eupatria), Slaty-headed parakeet (Psittacula himalayana), African
Indian Ringneck (Psittacula krameri krameri), Blossom-headed parakeet
(Psittacula roseata), African grey parrot (Psittacus erithacus),
Maroon-tailed conure (Pyrrhura melanura), Painted conure (Pyrrhura
picta), Goldie's lorikeet (Trichoglossus goldiei), Perfect lorikeet
(Trichoglossus euteles), Swainson's or blue mountain lorikeet
(Trichoglossus haematodus moluccanus) and red-collared lorikeet
(Trichoglossus haematodus rubritorquis).
    Although no imports of wild-caught Sun conures (Aratinga
solstitialis) were recorded for the United States, wild-caught birds
       Case 1:19-cv-20195-JLK
were available                     Document
               from Guyana, which had         8-1
                                      an annual    Entered
                                                export  quota on
                                                               of FLSD
                                                                  600  Docket   04/19/2019 Page 105 of
                                                      130
birds for this species during 1988-1991. Therefore, Sun  conures are not
included in the approved list.
    The Service found that the following species, which commenters
requested be included in the approved list, could not be added to the
approved list of captive-bred species because they did not meet the
criteria for approval in Sec. 15.31(a) and wild-caught birds are in
international trade: Lineolated or barred parakeet (Bolborhynchus
lineola), and Spectacled parrotlet (Forpus conspicillatus).
    The Service found that the following bird species, which commenters
requested be included in the approved list, could not be added to the
approved list of captive-bred species because there was insufficient
information to determine that all specimens in trade were captive-bred:
Black goshawk (Accipiter melanoleucus), Black-cheeked lovebird
(Agapornis nigrigenis), Black-collared lovebird (Agapornis
swinderniana), Abyssinian lovebird (Agapornis taranta), Buffon's macaw
(Ara ambigua), Blue-throated [Caninde] macaw (Ara glaucogularis),
Illiger's macaw (Ara maracana), Mountain parakeet (Bolborhynchus
aurifrons), Blue-eyed cockatoo (Cacatua ophthalmica), Slender-billed
conure (Enicognathus leptorhynchus), Yellow-faced parrotlet (Forpus
xanthops), Sclater's parrotlet (Forpus sclateri), Red-cheeked parrot
(Geoffroyus geoffroyi), Musk lorikeet (Glossopsitta concinna), Purple-
crowned lorikeet (Glossopsitta porphyrocephala), Little lorikeet
(Glossopsitta pusilla), Philippine hanging parrot (Loriculus
philippensis), Purple-capped lory (Lorius domicellus), Black-capped
lory (Lorius lory), Tepui parrotlet (Nannopsittaca panychlora), Orange-
bellied parakeet (Neophema chrysogaster), Rock parakeet (Neophema
petrophila), White-bellied caique (Pionites leucogaster), Coral-billed
pionus (Pionus sordidus), Plum-crowned pionus (Pionus tumultuosus),
Ruppell's parrot (Poicephalus rueppellii), Paradise parrot (Psephotus
pulcherrimus), which is probably extinct in the wild, Pesquet's parrot
(Psittrichas fulgidus), Malabar parakeet (Psittacula columboides),
Blaze-winged conure (Pyrrhura devillei), Fiery-shouldered conure
(Pyrrhura egregria), Sulphur-winged conure (Pyrrhura hoffmanni), Pearly
conure (Pyrrhura perlata), Crimson-bellied conure (Pyrrhura
rhodogaster), Black-capped conure (Pyrrhura rupicola), all 7 species of
Touit parrotlets, Varied lorikeet (Trichoglossus versicolor), and Blue-
crowned lory (Vini australis).
    For the above species, there are either no records or very few
records of any specimens in trade. The Service was therefore not able
to make the determination required by the statute that the above
species are regularly bred in captivity and that the importation of
specimens of the species is not detrimental to the species survival in
the wild. The Service recognizes that with increased captive breeding
efforts for these species, they may be able to meet criteria for
approval in Sec. 15.31 in the future.

Birds of Prey That Cannot Be Added to the Approved List

    The Service found that the following bird of prey species could not
be added to the approved list of captive-bred species because they did
not meet the criteria for approval in Sec. 15.31(a), and that wild-
caught birds are in trade: Black kite (Milvus migrans), and European
eagle owl (Bubo bubo).

Toucans That Cannot Be Added to the Approved List

    The Service found that the following toucan species, which
commenters requested be included in the approved list, could not be
added to the approved list of captive-bred species because it did not
meet the criteria for approval in Sec. 15.31(a) and wild-caught birds
are in trade and have been imported into the United States: Toco toucan
(Ramphastos toco).

Law Enforcement Concerns

    The Service found that the following bird species, all of which
commenters requested be included in the approved list, could not be
added to the approved list of captive-bred species because they did not
meet the criteria for approval in Sec. 15.31 due to law enforcement
concerns that wild-caught birds are in trade illegally and have been
imported either into the United States or other countries: Nyasa
lovebird (Agapornis lilianae), Australian king parrot (Alisterus
scapularis), Double yellow-headed Amazon (Amazona ochrocephala
       Case
oratrix),    1:19-cv-20195-JLK
          Green-cheeked            Document
                        Amazon (Amazona       8-1 Entered
                                        viridigenalis),     on FLSD Docket
                                                        Gang-gang            04/19/2019 Page 106 of
cockatoo (Callocephalon fimbriatum), Major Mitchell's 130
                                                      cockatoo (Cacatua
leadbeateri), Western long-billed cockatoo (Cacatua pastinator), Long-
billed corella (Cacatua tenuirostris), Spix's macaw (Cyanopsitta
spixii), Rose-breasted cockatoo or Galah (Eolophus roseicapillus),
Mexican parrotlet (Forpus cyanopygius), Black Palm cockatoo
(Probosciger aterrimus), Lanner falcon (Falco biarmicus), Saker falcon
(Falco cherrug), Gyrfalcon (Falco rusticolus), Red siskin (Carduelis
cucullata), and Crimson finch (Neochmia phaeton).
    Illegal trade in lanner falcons and saker falcons was reported in
the Review of Alleged Infractions and Other Problems of Implementation
of the Convention (Doc. 9.22), which is a document prepared by the
CITES Secretariat for discussion at the Ninth Meeting of the Conference
of the Parties to CITES. These species appear to be involved in illegal
trade on a fairly regular basis, including the laundering of wild-
caught specimens through captive-breeding operations.
    The Service received 1708 form letters requesting that all cockatoo
species from Australia be added to the approved list of captive-bred
species. The Service disagrees, because all cockatoo species do not
meet the criteria for approval in Sec. 15.31 due to the illegal trade
in wild-caught birds from Australia. A recent three-year covert law
enforcement investigation, dubbed Operation Renegade, found that over a
10-year period individuals were hired as couriers and travelled to
Australia each fall during the cockatoo nesting season to remove eggs
from nests in the wild. Several hundred smuggled eggs were then
incubated, hand-reared, and sold as captive-bred birds to collectors in
the United States. Among the smuggled species were Rose-breasted
cockatoos, Red-tailed black cockatoos, Major Mitchell's cockatoos, and
Slender-billed corellas. This investigation was a joint effort with law
enforcement officials from Australia, New Zealand, and the United
States, and to date, has resulted in criminal convictions against 17
individuals.

CITES-Listed Passerines That Cannot Be Added to the Approved List

    The Service found that the following CITES-listed passerine
species, which commenters requested be included in the approved list,
could not be added to the approved list of captive-bred species because
they did not meet the criteria for approval in Sec. 15.31(a) and wild-
caught birds are in trade and have been imported into the United States
or have been in international trade: Strawberry finch (Amandava
amandava), Greater Indian [Javan] hill myna (Gracula religiosa), St.
Helena waxbill (Estrilda astrild), Orange-cheeked waxbill (Estrilda
melpoda), Black-rumped waxbill (Estrilda troglodytes), Yellow-crowned
bishop (Euplectes afer), Orange weaver (Euplectes orix franciscanus),
Village Indigobird or Senegal combassou (Vidua chalybeata), Red-billed
firefinch (Lagonosticta senegala), Quail finch (Ortygospiza
atricollis), Cordon bleu [red-cheeked finch] (Uraeginthus benegalus),
and Pin-tailed whydah (Vidua macroura).

Non-CITES-Listed Passerines That Cannot Be Added to the Approved List

    The Service found that the following non-CITES-listed species,
which commenters requested be included in the approved list, could not
be added to the approved list of captive-bred species because they did
not meet the criteria for approval in Sec. 15.31 (However, since they
are not listed in the CITES Appendices, they are not covered by the
WBCA): Hooded pitta (Pitta sordida), Hartlaub's turaco (Tauraco
hartlaubi), Blue-faced parrot-finch (Erythrura trichroa), Red-headed
parrot-finch (Erythrura psittacea), Pin-tailed parrot-finch (Erythrura
prasina), Black-cheeked waxbill (Estrilda erythronotos), Violet-eared
waxbill (Uraeginthus granatina), Peters' twinspot (Hypargos
niveoguttatus), Chestnut munia (Lonchura malacca), Yellow-rumped finch
(Lonchura flaviprymna), Melba finch (Pytilia melba), Orange-winged
Pytilia (Pytilia afra), Saffron finch (Sicalis flaveola), Purple
grenadier (Uraeginthus ianthinogaster), White-rumped shama thrush
(Copsychus malabaricus), Silver-eared mesa (Leiothrix argentauris),
Pekin robin (Leiothrix lutea), and Asian Fairy bluebird (Irena puella).
    Some commenters asked that the Java sparrow (Padda oryzivora) be
approved as a captive-bred species. The Java sparrow is listed as an
injurious wildlife species, under regulations in 50 CFR Part 16, and
its importation, transportation, or acquisition is prohibited.
Therefore, the Service cannot list it as a species approved for
importation.
       Caseform
    Several  1:19-cv-20195-JLK     Document
                 letters were received        8-1 Entered
                                       recommending that the on FLSD
                                                              Northern   Docket 04/19/2019 Page 107 of
                                                      130 list of
Cardinal (Cardinalis cardinalis) be added to the approved
captive-bred species. This species is native to the United States and
is protected under the Migratory Bird Treaty Act (16 U.S.C. 703-711)
and implementing regulations in 50 CFR Subchapter B. Therefore, the
Service cannot list it as a species approved for importation.

Comments Pertaining to Section 15.33: Species Included in the Approved
List for Captive-bred Species. Inclusion of Species in the Approved
List, in Addition to Those in the Proposed Rule of March 17, 1994

    The Service found that the following species could be added to the
approved list of captive-bred species because they meet the criteria
for approval in Sec. 15.31: Cherry finch (Aidemosyne modesta), Diamond
sparrow (Emblema guttata), Red-browed finch (Aegintha temporalis),
Masked lovebird (Agapornis personata), Jendaya conure (Aratinga
jandaya), Yellow-fronted parakeet (Cyanoramphus auriceps), Red-fronted
parakeet (Cyanoramphus novaezelandiae), Blue-winged parrot (Neophema
chrysostoma), Elegant parrot (Neophema elegans), Northern rosella
(Platycercus venustus), Western or Stanley rosella (Platycercus
icterotis), Golden-shouldered parakeet (Psephotus chrysopterygius),
Indian ringneck parakeet (Psittacula krameri manillensis), Scaly-
breasted lorikeet (Trichoglossus chlorolepidotus), and Common buzzard
(Buteo buteo).
    Several commenters requested that color mutations of several
psittacine species be added to the approved list of captive-bred
species. The Service agrees when the color mutation is (a) rare or non-
existent in the wild, and therefore not likely to be obtained as wild-
caught stock; (b) regularly produced in captivity, and (c)
distinguishable from the typical wild form and such ability to
distinguish the color mutation is easy for the non-expert. Therefore,
the Service is adding the following color mutations for selected
species to the approved list of captive-bred species: Pacific parrotlet
(Forpus coelestis) - lutino, yellow, blue and cinnamon forms;
lineolated or barred parakeet (Bolborhynchus lineola) - blue, yellow,
and white forms; and Alexandrine parakeet (Psittacula eupatria) - blue
and lutino forms. The Service understands that newly discovered color
mutations are continuously appearing and being established in
captivity, and would appreciate information as the process occurs, so
that additional color mutations could be listed on the approved list of
captive-bred species.

Comments Pertaining to Section 15.33: Species Included in the Approved
List for Captive-Bred Species. Deletions of Species in the Approved
List

    Animal welfare organizations and one conservation organization
commented that Peach-faced lovebird (Agapornis roseicollis) and Plum-
headed parakeet (Psittacula cyanocephala) do not meet the criteria for
approval in Sec. 15.31(a) and wild-caught birds are in trade. The
Service has reviewed its own and international import trade records for
Peach-faced lovebirds and is satisfied that all specimens of the
species known to be in trade are captive-bred. The commenters expressed
concern that imports of Peach-faced lovebirds from South Africa could
be wild-caught birds, since the species occurs in the wild there. The
Service reviewed the wildlife import declarations for all Peach-faced
lovebirds imported from South Africa to the U.S. from 1988 through 1992
and is satisfied that the birds imported were captive-bred. Virtually
all shipments had been certified by the South African CITES Management
Authority as captive-bred. This species meets the criteria for approval
in Sec. 15.31 and will remain on the approved list of captive-bred
species.
    The Service has reviewed import trade records for Plum-headed
parakeets and found wild-caught specimens of this species in trade,
although none have been imported into the United States. Therefore,
this species does not meet the criteria for approval in Sec. 15.31, and
the Service is not including the Plum-headed parakeet in the approved
list of captive-bred species.
    The Government of Australia communicated its concern with listing
in the approved list of captive-bred species the following species: the
Port Lincoln parrot (Barnardius zonarius), Swift Parrot (Lathamus
discolor), Green rosella (Platycercus caledonicus), Yellow rosella
(Platycercus flaveolus), and Blue-bonnet parakeet (Psephotus
haematogaster). They stated that these species are not common in
       Case
captivity in 1:19-cv-20195-JLK      Document
              Australia and that there         8-1 associated
                                       are problems Entered onwith
                                                                FLSDthe Docket   04/19/2019 Page 108 of
                                                      130Service
smuggling of wild-caught specimens of these species. The
proposed these species for listing in its March 17, 1994, Notice of
Proposed Rulemaking, based on the information available to it at that
time, which showed that specimens imported into the U.S. were captive-
bred. Given this new information from Australia, the Service agrees and
is not including these species in the final list of approved captive-
bred species.
    Animal welfare organizations and one conservation organization
recommended that the Gouldian finch (Chloebia gouldiae), Long-tailed
grassfinch (Poephila acuticaudata), and Double-barred finch (Poephila
bichenovii) be deleted from the approved list of captive-bred species
because of the high mortality these species suffer in transit and
quarantine. Although the Service recognizes the problems with mortality
of birds in trade, the statute does not allow the use of such
information in listing captive-bred species on the approved list. The
Service is committed, however, to enforcement of the Humane and
Healthful Transport Regulations in 50 CFR Part 14, which apply to these
and all other bird species imported into the United States.
    The representative of the pet industry and two aviculturists
commented it was ``in error and misleading'' for the Service to list
Bourke's parrot (Neophema bourkii) and the Scarlet-chested parrot
(Neophema splendida) on the approved list of captive-bred species
because they are listed as endangered under the U.S. Endangered Species
Act (ESA). The Service disagrees and notes that we are aware of the
species' listing under the ESA. The Service did not intend to mislead
the public and was aware that these species were listed under the ESA
and would require ESA permits to be imported. However, the Service
found that these 2 species met the criteria in Section 15.31, and since
a few captive-bred birds had been imported into the U.S. in past years,
it was appropriate to list them and not require a WBCA permit for their
import. The Service notes that, although the species is endangered in
the wild in Australia, adequate enforcement controls exist such that
wild-caught birds are not threatened by illegal trade. The Service does
not have any evidence of any specimens in international trade that are
not captive-bred. The Government of Australia agrees with this
interpretation for these species. The Service has footnoted the species
on the approved list of captive-bred species which require an ESA
permit for importation to avoid any confusion.

Effects of the Rule

    The Service has determined that this final rule is categorically
excluded under Departmental procedures in complying with the National
Environmental Policy Act (NEPA). See 516 DM [Departmental Manual] 2,
Appendix 1 Paragraph 1.10. The regulations are procedural in nature,
and the environmental effects, while crafted to carry out the benign
purposes of the WBCA, are judged to be minimal, speculative, and do not
lend themselves to meaningful analysis. Future regulations implementing
the WBCA may be subject to NEPA documentation requirements, on a case-
by-case basis.

Executive Orders 12866, 12612, and 12630 and the Regulatory Flexibility
Act

    This rule was not subject to Office of Management and Budget review
under Executive Order 12866. This action is not expected to have
significant taking implications for United States citizens, as per
Executive Order No. 12630. It has also been certified that these
revisions will not have a significant economic effect on a substantial
number of small entities as described by the Regulatory Flexibility
Act. Since the rule applies to importation of live wild birds into the
United States, it does not contain any Federalism impacts as described
in Executive Order 12612.

Paperwork Reduction

    This final rule does not contain any increase in information
collection or record keeping requirements as defined by the Paperwork
Reduction Act of 1980. The information collection requirement(s)
contained in this section have been approved by the Office of
Management and Budget, as required by 44 U.S.C. 3501 et seq.

List of Subjects in 50 CFR Part 15
      Case 1:19-cv-20195-JLK Document 8-1 Entered on FLSD Docket 04/19/2019 Page 109 of
    Imports, Reporting and recordkeeping requirements,130
                                                       Transportation
and wildlife.

Regulation Promulgation

PART 15--WILD BIRD CONSERVATION ACT

    Accordingly, 50 CFR Part 15 is amended as follows:
    1. The authority citation for Part 15 continues to read as follows:

    Authority: Pub. L. 102-440, 16 U.S.C. 4901-4916.

    2. A new Subpart D, consisting of Sections 15.31, 15.32, and 15.33,
is added to Part 15 to read as follows:

Subpart D--Approved List of Species Listed in the Appendices to the
Convention

Sec.
15.31 Criteria for including species in the approved list for
captive-bred species.
15.32 Criteria for including species in the approved list for non-
captive-bred species. [Reserved].
15.33 Species included in the approved list.


15.31 Criteria for including species in the approved list for captive-
bred species.

    The Director will periodically review the list of captive-bred
exotic bird species in paragraph 15.33(a), for which importation into
the United States is approved. Any exotic bird species listed in
paragraph 15.33(a) pursuant to this section must meet all of the
following criteria:
    (a) All specimens of the species known to be in trade (legal or
illegal) are captive-bred;
    (b) No specimens of the species are known to be removed from the
wild for commercial purposes;
    (c) Any importation of specimens of the species would not be
detrimental to the survival of the species in the wild; and
    (d) Adequate enforcement controls are in place to ensure compliance
with paragraphs (a) through (c) of this section.


Sec. 15.32 Criteria for including species in the approved list for
non-captive-bred species. [Reserved]


Sec. 15.33   Species included in the approved list.

    (a) Captive-bred species. The list in this paragraph includes
species of captive-bred exotic birds for which importation into the
United States is not prohibited by section 15.11. The species are
grouped taxonomically by order.

----------------------------------------------------------------------------------------------------------------
                        Species                                                Common name
----------------------------------------------------------------------------------------------------------------
Order Falconiiformes:
    Buteo buteo........................................ Common European buzzard.
Order Columbiformes:
    Columba livia...................................... Rock dove.
Order Psittaciformes:
    Agapornis personata................................ Masked lovebird.
    Agapornis roseicollis.............................. Peach-faced lovebird.
    Aratinga jandaya................................... Jendaya conure.
    Barnardius barnardi................................ Mallee ringneck parrot.
    Bolborhynchus lineola (blue form).................. Lineolated parakeet (blue form).
    Bolborhynchus lineola (yellow form)................ Lineolated parakeet (yellow form).
    Bolborhynchus lineola (white form)................. Lineolated parakeet (white form).
    Cyanoramphus auriceps.............................. Yellow-fronted Parakeet.
    Cyanoramphus novaezelandiae........................ Red-fronted parakeet.
    Forpus coelestis (lutino form)..................... Pacific parrotlet (lutino form).
       Casecoelestis
    Forpus   1:19-cv-20195-JLK     Document 8-1 Entered
                     (yellow form).....................     on FLSD
                                                         Pacific      Docket
                                                                 parrotlet    04/19/2019
                                                                           (yellow form).   Page 110 of
                                                      130Pacific parrotlet (blue form).
    Forpus coelestis (blue form).......................
    Forpus coelestis (cinnamon form)................... Pacific parrotlet (cinnamon form).
    Melopsittacus undulatus............................ Budgerigar.
    Neophema bourkii................................... Bourke's parrot.
    Neophema chrysostoma............................... Blue-winged Parrot.
    Neophema elegans................................... Elegant Parrot.
    Neophema pulchella\1\.............................. Turquoise parrot.
    Neophema splendida\1\.............................. Scarlet-chested parrot.
    Nymphicus hollandicus.............................. Cockatiel.
    Platycercus adelaide............................... Adelaide rosella.
    Platycercus adscitus............................... Pale-headed rosella.
    Platycercus elegans................................ Crimson rosella.
    Platycercus eximius................................ Eastern rosella
    Platycercus icterotis.............................. Western (stanley) rosella.
    Platycercus venustus............................... Northern rosella.
    Polytelis alexandrae............................... Princess parrot.
    Polytelis anthopeplus.............................. Regent parrot.
    Polytelis swainsonii............................... Superb parrot.
    Psephotus chrysopterygius\1\....................... Golden-shouldered parakeet.
    Psephotus haematonotus............................. Red-rumped parakeet.
    Psephotus varius................................... Mulga parakeet.
    Psittacula eupatria (blue form).................... Alexandrine parakeet (blue form).
    Psittacula eupatria (lutino form).................. Alexandrine parakeet (lutino form).
    Psittacula krameri manillensis..................... Indian ringneck parakeet.
    Purpureicephalus spurius........................... Red-capped parrot.
    Trichoglossus chlorolepidotus...................... Scaly-breasted lorikeet.
Order Passeriformes:
    Aegintha temporalis................................ Red-browed Finch.
    Aidemosyne modesta................................. Cherry Finch.
    Chloebia gouldiae.................................. Gouldian finch.
    Emblema guttata.................................... Diamond Sparrow.
    Emblema picta...................................... Painted finch.
    Lonchura castaneothorax............................ Chestnut-breasted finch.
    Lonchura domestica................................. Society (=Bengalese) finch.
    Lonchura pectoralis................................ Pictorella finch.
    Neochmia ruficauda................................. Star finch.
    Poephila acuticauda................................ Long-tailed grassfinch.
    Poephila bichenovii................................ Double-barred finch.
    Poephila cincta.................................... Parson finch.
    Poephila guttata................................... Zebra finch.
    Poephila personata................................. Masked finch.
    Serinus canaria.................................... Common Canary.
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\1\Note: Permits are still required for these species under Part 17 (species listed as endangered or threatened
  under the Endangered Species Act (ESA)) of this Chapter.

    (b) Non-captive-bred species. [Reserved].

    Dated: November 21, 1994.
George T. Frampton Jr.,
Assistant Secretary for Fish and Wildlife and Parks.
[FR Doc. 94-29673 Filed 12-1-94; 8:45 am]
BILLING CODE 4310-55-Pz
  Case 1:19-cv-20195-JLK Document 8-1 Entered on FLSD Docket 04/19/2019 Page 111 of
2084                                             130 January 24, 1996 / Rules and Regulations
       Federal Register / Vol. 61, No. 16 / Wednesday,

DEPARTMENT OF THE INTERIOR                  origin. The final rule of November 16,       on June 3, 1994 (59 FR 28826), to
                                            1993, implemented the prohibitions           promulgate that regulatory change and
Fish and Wildlife Service                   stipulated in the WBCA and provided          the final rule was published on Dec. 2,
                                            permit requirements and procedures for       1994 (59 FR 62254).
50 CFR Part 15                              some allowed exemptions.                        On Dec. 2, 1994 (59 FR 62255), a final
RIN 1018–AC15                                  During the one-year period                rule was published which implemented
                                            immediately following enactment of the       procedures for the establishment of an
Importation of Exotic Wild Birds to the     WBCA, from October 23, 1992, to              approved list of captive-bred species
United States; Final Rule Implementing      October 22, 1993, import quotas were         listed in the CITES Appendices that
the Wild Bird Conservation Act of 1992      established for CITES-listed bird            may be imported without a WBCA
                                            species. Those quotas were announced         permit; those approved captive-bred
AGENCY:   Fish and Wildlife Service,        in the Federal Register on December 4,       species were those for which it has been
Interior.                                   1992 (57 FR 57510). A notice published       determined that trade involves only
ACTION: Final rule.                         on March 30, 1993 (58 FR 16644),             captive-bred specimens.
                                            solicited public comments and                   This rule addresses the proposals
SUMMARY: On October 23, 1992, the           announced a public meeting, held April       made in the Federal Register of March
Wild Bird Conservation Act of 1992          15–16, 1993, to receive input from the       17, 1994, for the criteria for including
(WBCA) was signed into law, the             public for the development of                species in the approved list of non-
purposes of which include promoting         regulations to implement some of the         captive-bred species, with some
the conservation of exotic birds by:        provisions of the WBCA. Useful input         modifications based on comments
ensuring that all imports into the United   was received from a broad cross-section      received and further analysis by the
States of species of exotic birds are       of interested members of the public who      Service. This final rule establishes
biologically sustainable and not            participated in the meeting and              regulations called for in the WBCA that
detrimental to the species; ensuring that   submitted comments in writing; that          will accomplish the following: (1) For
imported birds are not subject to           input has been used to develop this          wild-caught CITES-listed birds to be on
inhumane treatment during capture and       final rule. A notice published on April      an approved list, the Service must
transport; and assisting wild bird          16, 1993 (58 FR 19840), announced            determine that: CITES is being
conservation and management programs        species for which the quotas had been        effectively implemented for the species
in countries of origin. This final rule     met and no further individual birds          for each country of origin from which
would implement procedures for              could be imported.                           imports will be allowed; CITES-
establishment of an approved list of           Since the publication of the final rule   recommended measures are
non-captive-bred (wild-caught) species      of November 16, 1993, imports of all         implemented; there is a scientifically
listed in the Appendices to the             CITES-listed birds (as defined in the        based management plan for the species
Convention on International Trade in        final rule) are prohibited, except for (a)   that provides for the conservation of the
Endangered Species of Wild Fauna and        species included in an approved list; (b)    species and its habitat, includes
Flora (CITES, or the Convention) that       specimens for which an import permit         incentives for conservation, ensures that
can be imported.                            has been issued; (c) species from            the use of the species is biologically
DATES: This rule is effective February      countries that have approved                 sustainable and maintained throughout
23, 1996.                                   management plans for those species; or       its range at a level consistent with its
                                            (d) specimens from approved foreign          role in its ecosystem, and addresses
FOR FURTHER INFORMATION CONTACT: Dr.
                                            captive-breeding facilities. The U.S.        factors that include illegal trade,
Susan S. Lieberman, U.S. Fish and           Fish and Wildlife Service (Service)
Wildlife Service, Office of Management                                                   domestic trade, subsistence use, disease,
                                            published a proposed rule in the             and habitat loss; and that the methods
Authority, 4401 N. Fairfax Drive, room      Federal Register on March 17, 1994 (59
420C, Arlington VA 22203, telephone                                                      of capture, transport, and maintenance
                                            FR 12784), that would implement              of the species minimize the risk of
(703) 358–2093.                             procedures for approval of foreign           injury or damage to health.
SUPPLEMENTARY INFORMATION: This final       captive-breeding facilities,
rule implements aspects of the WBCA,        establishment of an approved list of         Comments and Information Received
which was signed into law on October        captive-bred species listed in the CITES        The Service received roughly 1500
23, 1992. This is the fourth of five        Appendices that can be imported              comments from the public, including
rulemakings under the WBCA; the first       without a WBCA permit and                    over 1409 form letters from private
final rulemaking under the WBCA was         establishment of criteria for including      aviculturists (bird breeders) and
published in the Federal Register on        non-captive-bred (wild-caught) species       comments from 12 conservation and/or
November 16, 1993 (58 FR 60524). The        in the approved list.                        animal welfare organizations, 1
second and third final rulemakings             As a result of a lawsuit filed on         zoological organization, 4 scientific
under the WBCA were published in the        February 15, 1994, by the Humane             organizations, 1 representative of the pet
Federal Register on December 2, 1994        Society of the United States and             industry, 2 private companies, 5
(59 FR 62255). The WBCA limits or           Defenders of Wildlife, and a resultant       avicultural organizations, and 1
prohibits imports of exotic bird species    District Court Order that found a portion    falconry/raptor breeder organization; the
to ensure that their wild populations are   of the regulation in the November 16,        remaining comments were from other
not harmed by trade. It also encourages     1993, Federal Register invalid, the          private individuals.
wild bird conservation programs in          Service, consistent with that Court
countries of origin by both ensuring that   Order, announced in the Federal              Comments of a General Nature
all imports of such species into the        Register on May 24, 1994 (59 FR 26810),         The Service proposed to consider
United States are biologically              that all exotic birds listed in Appendix     only sustainable use management plans
sustainable and not detrimental to the      III of CITES are covered by the              for Appendix II and III species since
species, and by creating an Exotic Bird     automatic import moratorium of the           trade for primarily commercial purposes
Conservation Fund to provide                WBCA, regardless of their country of         is not permitted under the Convention
conservation assistance in countries of     origin. A proposed rule was published        for Appendix I species. If specimens of
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an Appendix I species are required for       disagreed with the Service’s proposed         including such mechanisms for control
zoological, scientific, or breeding          definition—‘‘the use of a species in a        of illegal trade.’’
purposes, individuals or institutions        manner and at a level such that                  The WBCA requires the Service to
desiring such import may apply for a         populations of the species are                make the finding that CITES is being
permit under Subpart C of this Part 15.      maintained at optimal levels for the long     effectively implemented, by making
   Few comments were received                term and involves a determination of          each of the following findings specified
opposing such a consideration for            the productive capacity of the species        in Section 106, paragraph (c) of the
sustainable use. A few aviculturists         and its ecosystem, in order to ensure         WBCA:
objected because they consider               that utilization does not exceed those           (1) That the country of origin has
Appendix I species to be the species         capacities or the ability of the              established a Scientific Authority or
most in need of conservation attention,      population to reproduce and maintain          other equivalent authority;
and believe that the Service should          itself’’. They objected that the Service’s       (2) That the requirements of Article IV
allow for imports of Appendix I species      use of ‘‘optimal’’ was vague and left the     of the Convention are implemented with
under this provision of the WBCA. The        definition open-ended and subject to          respect to that species;
Service recognizes the need to conserve      interpretation by the reader. The Service        (3) That remedial measures
these threatened and endangered              recognizes the extreme importance of          recommended by the Parties to the
species, and agrees that they are of the     the term ‘‘sustainable use’’ since the        Convention with respect to that species
highest conservation priority. The           WBCA requires that the import of wild-        are implemented;
Service notes however that approval to       caught birds must be biologically                (4) That a scientifically-based
import wild-caught birds under a             sustainable. The Service has modified         management plan has been developed
sustainable use management plan will         its definition to remove any ambiguity,       for the species which provides for the
allow commercial trade, and as such is       by replacing the term ‘‘optimal levels’’      conservation of the species and its
inconsistent with both the intent and        with the term ‘‘biologically viable           habitat and includes incentives for
the requirements of CITES Appendix I.        levels’’.                                     conservation (section 106, paragraph
The Service disagrees that scientifically-      One conservation organization              (c)(2)(A) of the WBCA);
based management plans can be                objected to the phrase ‘‘long term’’ in          (5) That a scientifically-based
submitted for commercial exports of          the sustainable use definition, arguing       management plan has been developed
Appendix I listed species. If individuals    that interpretation of the phrase is open     for the species which ensures that the
or organizations wish to import wild-        to debate as to the exact length of time      use of the species is biologically
caught specimens of an Appendix I            meant in the definition. They would           sustainable and maintained throughout
species for zoological, scientific, or       prefer a modifier ‘‘biased toward the         the range of the species in the country
cooperative breeding programs, they          indefinite maintenance of viability, such     to which the plan applies at a level that
already may apply for a permit for such      as in perpetuity’’ be added to the            is consistent with the role of the species
an import under Subpart C of this Part       definition. The Service disagrees, in that    in the ecosystem and is well above the
15.                                          such a modifier would be unnecessarily        level at which the species might become
                                             confusing. The phrase ‘‘long term’’ is        threatened with extinction (Section 106,
Comments Pertaining to Section 15.30:                                                      paragraph (c)(2)(B) of the WBCA);
                                             sufficiently clear, as it refers to many
Definitions                                                                                   (6) That a scientifically-based
                                             generations and indeed many, many
  The Service has modified the               years. The Service considers it too           management plan has been developed
definition of trend and the new              extreme to require exporting countries        for the species which addresses factors
language reflects the need to evaluate       to implement management plans that            relevant to the conservation of the
past experience as well as future            are designed to maintain a species at         species, including illegal trade,
projections in deterimining trend.           biologically viable levels in perpetuity.     domestic trade, subsistence use, disease,
  The Service notes that in the                                                            and habitat loss (section 106, paragraph
development of its definition of             Comments Pertaining to Section 15.32:         (c)(2)(C) of the WBCA);
‘sustainable use’ it drew upon IUCN          Criteria for Including Non-Captive-bred          (7) That the management plan is
draft guidelines for ‘An Initial             Species in the Approved List                  implemented and enforced (Section 106,
Procedure for Assessing the                    This section establishes the criteria       paragraph (c)(3) of the WBCA); and
Sustainability of Uses of Wild Species’.     for the inclusion of non-captive-bred            (8) That the methods of capture,
These draft guidelines recommend that        (wild-caught) bird species in the             transport, and maintenance of the
assessing the impacts of use should          approved list, thereby allowing their         species minimize the risk of injury or
cover three factors: (1) Demographic         importation into the U.S. under the           damage to health, including inhumane
sustainability or the impact of the use      WBCA without needing WBCA import              treatment (Section 106, paragraph (c)(4)
on the population being used (the use        permits under Subpart C of this Part 15.      of the WBCA).
must be at a rate that is within the         Pursuant to Section 106 of the WBCA,             The Service notes that Congress in the
population’s capacity for renewal); (2)      the Secretary is required to publish a list   WBCA used the terminology
ecological sustainability or the             of species of exotic birds that are listed    ‘‘scientifically-based management plan’’
compatibility of a use with the quality      in an Appendix to CITES and that are          and it has retained this phrase in this
and native diversity of the ecosystem;       not subject to a prohibition or               final rule. However, the Service
and (3) impacts of other factors (human      suspension of importation otherwise           recognizes that preferable phrasing is
activities and/or natural events) on the     applicable under the WBCA. For non-           ‘‘science-based’’ or ‘‘scientifically-
ecosystem. The Service has                   captive-bred birds to be imported from        sound’’ management plan and notes that
incorporated these concepts into a           other countries and therefore, for such       this is the objective of a sustainable use
working definition of sustainable use.       birds to be listed in an approved list, the   management plan under the WBCA.
  Several commenters supported the           Service is required by the WBCA to ‘‘use      Some animal welfare and conservation
definition of sustainable use while          the best scientific information available,    organizations recommended that the
numerous commenters, including the           and to consider the adequacy of               Service insert the word ‘‘scientific’’
pet industry, avicultural, animal            regulatory and enforcement mechanisms         throughout the criteria, such as
welfare, and conservation organizations      in all countries of origin for the species,   ‘‘scientific study’’ or scientific
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methodology. The Service is making no        is willing to offer technical expertise to   and identification of fraudulent
changes based on these comments, since       those countries requesting assistance.       documents.
this wording is redundant and already        The Service hopes that development              Some animal welfare organizations
incorporated in the phrase                   agencies, consumers (industry and            requested that a scientific study within
‘‘scientifically-based’’.                    avicultural groups) and the conservation     the previous three years be required for
   Numerous comments were received           communities will join efforts with the       information on a species’ distribution
on the criteria which the Service            Service to provide support and expertise     and status. The Service disagrees and
proposed for making the above findings       to sustainable use projects that address     does not believe the WBCA mandates
and these comments are addressed in          the use of exotic birds.                     such a requirement. The Service
the following sections.                         One animal welfare organization           recognizes that such information needs
                                             opposed the use of the phrase                to be current and factual, but will allow
General Comments on the Criteria
                                             ‘‘sustainable use’’ throughout Section       the exporting country to chose a time
   The pet industry representative and       15.32 and commented that the term            frame for the information submitted.
several avicultural organizations and        ‘‘sustainable use has become a               The Service is requesting that
aviculturists objected to the amount of      buzzword, conjuring up images of             information on distribution be ‘‘recent’’.
scientific information required under        carefully planned and strictly controlled       One animal welfare organization
the proposed regulations because they        use of wildlife that will not harm wild      suggested also requiring the following
believe such information is impossible       populations or their ecosystems’’. They      background information: Summaries,
to obtain in developing countries            requested that the term ‘‘scientifically-    prepared by the Management Authority
because of scientific, logistical and        based’’ management plan be substituted       of each country of origin of the species,
financial constraints. They oppose the       for sustainable use management plan.         addressing the legislation related to this
adoption of the proposed criteria            The Service disagrees and will retain        species, implementation and
because they consider them to be too         the use of this terminology. However,        enforcement of CITES. The Service
complex and unattainable for the             the Service believes that any valid          disagrees. Should the Service require
underdeveloped countries of the world.       sustainable use management plan must         such information to evaluate the
The Service strongly disagrees. In           be scientifically-based. The WBCA            management plan for a species with a
particular, the Service disagrees that       requires that imports of wild-caught         multi-country distribution, the Service
range states that may be interested in       birds be ‘‘biologically sustainable’’ and    can obtain such information directly
exporting wild-caught birds are              therefore, the management plans              from the CITES Management Authority
incapable of developing management           submitted must provide information           for these countries or the CITES
plans based on scientific information.                                                    Secretariat. It would be an unfair
                                             that addresses such use and must be
   The WBCA requires that the                                                             administrative burden for an exporting
                                             scientifically-based. A management plan
management plans be ‘‘scientifically-                                                     country to have to submit such
based’’ and that the imports of wild-        based only on commercial interests or
                                             market demand would be considered            summaries.
caught birds be biologically sustainable
and non-detrimental to the survival of       inadequate.                                  Section 15.32(a)(2) Habitat
the species in the wild. Therefore, the      Comments on Specific Requirements for        Information
Service is required to receive and           Scientifically-Based Sustainable Use            The pet industry representative and
review scientific data that will ensure      Management Plans                             several avicultural organizations and
such findings can be made. The Service                                                    individuals opposed the requirement for
notes that such scientific studies are       Section 15.32(a)(1) Background               the submission of habitat information,
currently being undertaken in several        Information                                  which they consider to be irrelevant and
developing countries by nationals from          One avicultural organization opposed      unavailable. The Service strongly
these countries. Some examples include       the requirement to provide ‘‘a summary       disagrees. The WBCA requires ‘‘that a
the Blue-fronted Amazon (Amazona             of the country’s export legislation          scientifically-based management plan
aestiva) sustainable use project in          related to this species, implementing the    has been developed for the species
Argentina; the study of three Amazon         Convention, and where appropriate, a         which provides for the conservation of
parrot species in Mexico; the study of       summary of implementing regulations;         the species and its habitat and includes
the Yellow-crowned Amazon (Amazona           and a summary of the country’s               incentives for conservation’’ (Section
ochrocephala) and its potential              enforcement and monitoring                   106, paragraph (c)(2)(A) of the WBCA).
sustainable use in Guatemala; the study      mechanisms to ensure compliance with         In order to make this finding, the
of parrot populations in Venezuela; the      the management plan’’. The Service           Service needs information on a species’
study of Atlantic coastal forest Amazon      disagrees. Such information is required      ecological requirements and habitats.
parrots in Brazil; the study of macaws       under the WBCA to evaluate the               The Service also believes that the
and other parrot species in Manu             implementation of CITES in the               exporting country needs this
National Park, Peru; the study of            exporting country and to make the            information in order to develop a
psittacine populations in Cuba; and the      required non-detriment finding that the      scientifically-based sustainable use
study of cockatoo species in Indonesia.      import of wild-caught birds will not         management plans. The approval
These studies are not just brief censuses,   affect the survival of the species           criteria incorporate this consideration in
but often multi-year studies addressing      throughout its range. The Service            a number of ways, including requiring:
a spectrum of biological questions           requires such information to ensure that     (a) Information on species conservation
integral to the development of               wild-caught birds from neighboring           status and distribution; and (b) habitat
comprehensive management plans. In           range countries are not being laundered      conservation information, including
addition to the scientific data collected    through an exporting country’s               habitat requirements, habitat
during these projects, these research        sustainable use management plan. A           distribution and protection status, and
projects serve an invaluable function in     copy of a country’s export legislation       habitat status and trends.
training ecologists and conservation         would be extremely useful in assisting          Scientific organizations and one zoo
biologists in these countries. The WBCA      importing countries as it would help the     representative supported these
encourages such studies and the Service      Service in smuggling interdiction efforts    requirements for habitat information.
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Some animal welfare organizations            such management is a cooperative                 For long-lived, more ‘‘K-selected’’
requested that such information be           submission by both countries. The             species of birds (as listed in the
provided from the results of a scientific    Service strongly encourages bilateral or      proposed rule in § 15.32) the Service
study conducted within the previous          multilateral cooperation in the case of       proposed requiring that the management
three years prior to the submission of a     such migratory species.                       plan (for species that breed in the
sustainable use management plan. The                                                       country of export) include information
                                             Section 15.32(a)(4) Population
Service disagrees, recognizing that such                                                   on nesting ecology, and reproductive
                                             Dynamics of the Species
information needs to be current and                                                        rates or mortality rates. Those ‘‘K-
factual; the Service will allow the             In order to determine that any             selected’’ species were defined as those
exporting country to choose a time           utilization proposed in the management        not in one of 19 specified families of
frame for the information submitted, as      plan is sustainable, the Service              birds. The Service proposed more
long as it reflects the current situation.   proposed to require evidence of how           rigorous standards for the sustainable
   Some animal welfare organizations         levels of sustainable use were                utilization of ‘‘K-selected’’ species,
recommended an additional                    determined, including either (1)              based on an awareness that their
requirement that would request habitat       adequate long-term population trends          sustainable utilization is very difficult,
information on reserves which provide        and take levels, or (2) population            and that they are extremely sensitive to
protection for a species and                 estimates, reproductive success, and          population depletion.
management/enforcement information           estimation of the number exported from           For species included in one of the 19
on those reserves. The Service               the country during the past 2 years, and      families of birds specified in the
recognizes the usefulness of this            estimation of the number of birds             proposed rule in § 15.32 (more ‘‘r-
information in evaluating sustainable        removed directly from the wild for            selected’’ species), the Service proposed
use plans, but does not believe that this    export, domestic trade, illegal trade,        that, instead of detailed demographic
calls for establishing a separate            subsistence use, and other purposes.          information, the management plan (for
requirement. Rather, such information        The information should include the            species that breed in the country of
can be provided under § 15.32(a)(2)(ii),     estimated number of birds to be               export) need include: An estimation
and the Service recommends its               removed from the wild from each area          (with documentation) of recent
submission when available. The Service       or region of take each year for all           reproductive success; estimation of
notes as well that in any application,       purposes, including age-class                 annual mortality or loss; or
any such additional information that         information for species, and a                documentation of long-term population
demonstrates the scientific basis of a       description of future plans to monitor        and offtake trends based on indices of
sustainable use management plan              the species in each area of take and to       relative abundance and measures of
should be submitted in order to              determine whether the number of birds         offtake and description of any long-term
facilitate decision-making.                  taken has been sustainable. Throughout        changes in other mortality factors.
                                             this rule, area or region of take refers to   Reproductive success may be estimated
Section 15.32(a)(3) Information on the       the area or region within the country of      using pre-breeding and post-breeding
Role of a Species in its Ecosystem           export where birds will be removed            counts, wherever that is appropriate.
   Conservation, scientific, and animal      from the wild; the degree of specificity      For all birds, when the species occurs in
welfare organizations commented that it      used will depend on the particular            the country of export only during the
is not possible for a country of export      situation in the country of export. If the    non-breeding season, the Service
to ensure that a species is being used in    species is abundant throughout its            proposed to require documentation or a
a sustainable manner when that species       range, the region of take could be the        letter from the CITES Scientific
does not breed in the country of export.     entire country; a species that is locally     Authority that the species does not
Since the breeding cycle is one of the       abundant but rare elsewhere might have        breed there.
most crucial stages in an organism’s         a more restricted area of take.                  Two biologists supported the
annual cycle and the one that provides          This section generated extensive           proposed regulations. Two scientific
data to assess reproductive output and       comments; the criteria listed in this         organizations who represent the
population dynamics, it would not be         section are essential to evaluate whether     ornithological community, and the
possible to assess the affect of take on     the proposed scientifically-based             animal welfare and conservation
the population and evaluate the              management plan is biologically               organizations opposed aspects of the
sustainable use of such a population         sustainable. The proposed rule (59 FR         proposed regulations regarding
according to these commenters. They          12784, March 17, 1994) required recent        population dynamics. They considered
argue that a scientifically-based            population data for the population of         the proposed regulations to be
management plan must address these           the species in the country of export, as      scientifically flawed. Representatives of
concerns to be valid. The Service            well as population data from the              the scientific community argued that
strongly agrees and has modified its         population being harvested, derived           ‘‘the amount of information needed to
criteria accordingly. Unless an exporting    from indices of relative abundance            prove sustainable use should be
country can demonstrate that a               (such as catch per unit effort or call        sufficient to demonstrate convincingly
management plan is scientifically valid      count surveys) or population estimates        that the level of extraction is in
and the export of a non-breeding species     (if available), along with documentation      proportion to the annual growth of the
from the country is biologically             for each estimate. These population data      population.’’ To determine if levels of
sustainable and not detrimental to the       or estimates should be based on studies       use are sustainable, they recommend a
species’ survival in its breeding range,     conducted for at least three separate         minimum of four kinds of biological
the Service will consider only               years, or data for one year can be            information: (1) Population size and
management plans for species which           provided, with a description of survey        trends; (2) annual reproductive success
breed in the exporting country. The          plans for future years. Population            (number of young produced) per female
Service does not believe that a species      assessments should have been                  by age groups; (3) annual rate of survival
that breeds elsewhere than the exporting     conducted during the same season              of males and females by age groups; (4)
country can be managed sustainably in        (breeding or non-breeding) of each year       the number of birds harvested. They
the absence of reproductive data unless      for which documentation is submitted.         recommend that population trends and
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levels of harvest should be measured         in determining if a sustainable use           drew upon the model for sustainable
and reported for each year of harvest.       management plan is biologically valid         use of parrot species by Beissinger and
Reproductive and survival rates should       and non-detrimental to the species’           Bucher (1992) [Bioscience vol. 42,
be measured for 3 to 5 years, and            survival. For many long-lived species,        March 1992: Can parrots be conserved
periodically thereafter. They strongly       indices of abundance provide                  through sustainable harvesting?]. The
disagree with the proposed regulations       insufficient information to assess a          scientific, animal welfare and
which require information on                 population’s status and determine             conservation communities supported
reproductive rates or survivorship rates.    measures of offtake. For many Amazon,         this model in their comments and urged
They recommend that both be measured         cockatoo and macaw species,                   the Service to adopt it. The Service has
for the scientific determination of          population numbers may be stable but          added an additional criterion to
quotas for sustainable use, and that this    without reproductive or mortality             § 15.32(a)(4) to reflect sustainable use
should be required for all species in        information, it is impossible to              management options contained in this
trade, not only for K-selected species.      determine if the population is stable,        model where management operations
   The scientific community, the zoo         declining or increasing over a limited        are used to boost productivity and
representative, and animal welfare and       time period. In the early 1950’s the          harvest levels of young are
conservation organizations opposed the       Puerto Rican Parrot population                commensurate with such enhancement.
use of different requirements for ‘‘r- and   numbered around 200 birds in the wild         In such a case, it is unnecessary to
K-’’selected species. They argued that       but by 1968, it had crashed to less than      measure adult survival rates, provided
while it is generally true that K-selected   50 individuals. Population nesting            there is baseline data upon which to
species are more sensitive to                success was so low that the recruitment       compare population growth rates pre/
overharvesting than r-selected species,      rate for the population was zero.             post enhancement and to determine
‘‘the population dynamics of long-lived,        The Service strongly believes that it is   quotas for the harvesting of young birds.
K-selected birds are usually most            critical to require information on
affected by (or sensitive to) changes in     population dynamics which would               Section 15.32(a)(5) Determination of
adult mortality rates. In contrast, r-       allow the Service to be able to evaluate      Biologically Sustainable Use
selected species have shorter life spans     sustainable use management plans in a            The pet industry representative and
and require frequent, successful             rigorous scientific manner. The Service       an avicultural organization argued that
reproduction for populations to be           has modified the final rule to require the    the Service failed to ‘‘recognize the
sustained. In other words, population        minimum four types of biological              ability of countries to provide for
dynamics of r-selected species are often     information that the scientific               alternative managed and sustainable use
equally influenced by changes in             ornithological community has                  of pest species’’. They argue that the
reproductive success and adult               suggested. However, should an                 criteria for the determination of
mortality. The proposed regulations do       exporting country be able to                  biologically sustainable use are
not delineate what age classes should be     demonstrate that its management plan is       excessive and unnecessary for pest
harvested for trade.’’ Given that both       scientifically valid without the              species. ‘‘Pest species’’ are often subject
adults and nestlings are likely to be        submission of all the documentation           to management control programs in
traded, and the general lack of biological   required in § 15.32, the Service would        exporting countries and exports of pest
information that exists on species in        consider such a plan. For example, a          species are often used as a measure to
international trade, the commenters          scientifically-based management plan          reduce the population levels of these
argued that it is essential to require       for estrildid finches could be considered     pest species.
similar information for all species of       without documentation on annual                  Although Congress did not exempt
birds. Lastly, they argued that the r-K      reproductive success (number of young         pest species from the Wild Bird
dichotomy is of little use when              produced per female by age groups).           Conservation Act, the Service
comparing families of birds because          The Service also recognizes that the          recognizes that some bird species in
within families, there is great variation    theory of the biologically sustainable        their country of origin may be pests and
in life history traits. They support the     use of species is continually evolving        could be exceedingly abundant which
adoption of one set of standards for all     and methodologies to measure                  allows for their sustainable use in high
birds, and that such standards should be     population dynamics will change and           quantities. However, the mere
strict and require information on all the    become increasingly refined as theory is      designation of a species as a pest is
population parameters discussed above        put into practice. Therefore, the Service     insufficient to determine if exports are
as necessary to determine biologically       wishes to allow some flexibility in           non-detrimental to the species. The
sustainable use.                             evaluating a scientifically-based             Service notes that Congress, in the
   The pet industry and avicultural          management plan.                              Committee Report on the WBCA, said
organizations opposed the requirements          The Service has reviewed the               that ‘‘the bill does not authorize the
for ‘‘r- and K-’’selected species. They      scientific information available on           Secretary to include a species on the
argued that the reproductive                 sustainable use and the biological            approved list by virtue of the fact that
information called for may not be            underpinnings of such theory. The             it is designated as a pest in the country
necessarily relevant to the                  Service notes that the most successful        of origin. Rather the Committee expects
determination of sustainable use. They       projects currently in place for               the Secretary to evaluate the
support the adoption of one set of           sustainable use involving international       management program based on the best
standards for all birds, and that such       trade in CITES-listed species involve         scientific information available, and
standards be based on indices of relative    reptiles, particularly some lizards and       determine whether it effectively
abundance, and measures of offtake. A        crocodilians, and as such caution             provides for the conservation of birds’’.
general one-time population study for        should be utilized in translating such        These regulations accordingly reflect
certain species should be acceptable.        projects to birds, particularly long-lived    Congress’ intent.
The Service strongly disagrees and           species such as psittacines. In                  Several animal welfare organizations
supports the use of population               developing the proposed criteria on           opposed the estimation of the number
estimates, reproductive rates,               which to base approval of sustainable         exported from a country of origin during
survivorship rates, and mortality rates      use management plans, the Service             the past 2 years. Animal welfare
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organizations argued that such              adequately within the definition of           management plan promotes the value of
information should be provided for 3        sustainable use.                              the species and its habitats’’; however,
years. The Service is making no change         Some animal welfare organizations          this is not the only way to demonstrate
based on these comments. The Service        requested that the wording in § 15.32         a conservation incentive.
believes that 2 years of data are           (a)(5)(vi) regarding monitoring plans be         The pet industry representative, an
adequate. Of course, more than 2 years      made clearer to the reader. The Service       avicultural organization and several
of data are welcome. Furthermore, prior     agrees and has changed its wording.           aviculturists argued that ‘‘pest species’’
to approval, any proposed management           Some animal welfare organizations          which are subject to management
plan will be the subject of a notice        and one conservation organization             control programs in exporting countries
published in the Federal Register for       recommended that two additional               need not demonstrate a conservation
public comment, at which time any           requirements be added to § 15.32(a)(5)        incentive for the species. For species
interested organizations or members of      as part of the determination of               where the scientifically based
the public may comment on the               biologically sustainable use. One             management plan provides
adequacy of data provided.                  requirement would be monitoring of the        documentation that such species is a
   Some animal welfare organizations        population during use and how taking          pest in the country of origin, the Service
requested that the phrase ‘‘under the       will be halted if it is determined that the   has modified the requirements for a
management plan’’ be inserted into          number of birds taken is not sustainable.     conservation incentive to allow for the
§ 15.32(a)(5)(ii) for the number of birds   The Service disagrees with                    consideration of pest species. However,
removed from the wild. The Service is       incorporating such a redundant                the U.S. Department of Agriculture
making no change based on these             requirement. Article IV paragraph 3 of        (USDA) commented that ‘‘APHIS and its
comments. This phrase would not add         the CITES treaty requires the Scientific      customers are very concerned about the
anything, and might be confusing. Data      Authority of the exporting country to         careful importing of birds from other
on the numbers removed from the wild        monitor its exports, and limit exports        countries, particularly those that are
are necessary whether part of the           when necessary to maintain species            already known to cause threats in
management plan or due to other             throughout their range at a level             agriculture, natural resources, facilities,
causes.                                     consistent with their role in their           or human health and safety in their
   Some animal welfare organizations        ecosystems and well above a level at          countries of origin’’. They requested that
requested that § 15.32(a)(5)(iii) be        which they might become eligible for          the Service consider these factors when
modified to include a description of pre-   inclusion in Appendix I. The Service in       approving species for importation. The
export holding. The Service agrees and      approving the sustainable use                 Service agrees that these should be
has modified this requirement.              management plan will be evaluating the        critical factors to consider. The Service
   Animal welfare, scientific and           implementation of CITES by the                is cognizant of the harm that non-
conservation organizations supported        exporting country, including its              indigenous species can do in the United
§ 15.32(a)(5)(iv).                          implementation of Article IV. The             States. However, the Wild Bird
   Several avicultural organizations and    Service also notes that the Secretary         Conservation Act does not specifically
individuals opposed § 15.32(a)(5)(v),       may be petitioned at any time under the       restrict the import of pest bird species.
claiming that it was too broadly written    WBCA to remove a species from the             Any applications involving the
and requires more information than is       approved list of non-captive bred             importation of pest species or species
necessary to determine if CITES is being    species should information become             that are claimed to be pests in their
effectively implemented. The Service        available that the number of birds taken      country of origin will be forwarded to
disagrees and is requiring this             is not sustainable.                           USDA for their comments, which will
information to evaluate the scientific         The other requirement would be ‘‘a         be taken into consideration.
management plan and make the                description of how the country of export
required non-detriment finding. Based       has made Article IV determinations for        Section 15.32(a)(7) Additional Factors
on its experience in enforcement, the       each CITES listed species it has                 One zoological organization, 1
Service is concerned about the              exported in the past 3 years, including       scientific organization, and 12
laundering of wild-caught birds taken       the bird species that is the subject of the   conservation and animal welfare
from other areas being represented as       management plan under consideration’’.        organizations supported the additional
birds coming from the areas proposed in     While it would be useful to understand        requirements in this section. The pet
the sustainable use management plan.        the functioning of a country’s Scientific     industry representative and the
The Service will work with exporting        Authority, requiring submission of this       avicultural organizations opposed the
countries on means to prevent such          information would be excessive and            factor which asked for a description of
laundering.                                 burdensome. The Service has not               the shipping methods and enclosures.
   Several biologists and conservation      incorporated this recommended change.         The Service is making no changes based
organizations supported this                                                              on these comments. The Service is
requirement in its entirety while most      Section 15.32(a)(6) Incentives for            required under Section 106(c) of the
animal welfare organizations and            Conservation                                  WBCA to determine that the methods of
several individuals wish to have it           Some animal welfare groups                  capture, transport, and maintenance of
strengthened and text inserted which        recommended that the wording of this          the species proposed for export in the
‘‘ensures that the species is maintained    requirement be changed to ‘‘a                 sustainable use management plan
throughout the range of the species in      demonstration of how export of the bird       minimize the risk of injury or damage to
the country to which the plan applies at    species to the United States will result      health, including inhumane treatment.
a level that is consistent with the role    in a verifiable improvement in the status     Therefore, the Service is requiring such
of the species in the ecosystem and is      of the species or its habitat in the          information, as it is necessary to
well above the level at which the           country’’. The Service is making no           evaluate the transport and maintenance
species might become threatened with        changes based on this comment. The            of the species. The Service believes that
extinction’’. The Service is making no      Service recognizes that such                  exporting countries are capable of
changes based on these comments.            information could be used to meet the         complying with U.S. and CITES humane
These elements are addressed                requirement of ‘‘how the sustainable use      transport standard. The Service’s
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primary concern in this regard is the        example, a sustainable use management         exporting country. The Service notes
humane and healthful transport of birds,     plan for the CITES Appendix II-listed         that Congress, in the Committee Report
in order to minimize or eliminate            Blue-fronted Amazon (Amazona                  on the WBCA, said that ‘‘the Committee
mortality and morbidity due to               aestiva) which has declined in some           expects the Secretary to consider the
preparation for shipment and transport.      parts of its range would be evaluated         extent to which a country’s Scientific
  An avicultural organization opposed        more stringently than a sustainable use       Authority is technically capable of
the requirement for a description of any     management plan for the CITES                 carrying out the duties described by
captive-propagation program for the          Appendix III-listed red-billed waxbill        CITES.’’ It directs the Secretary to
species carried out in the country as not    (Lonchura senegala) which is abundant         review whether a country is effectively
relevant to the sustainable use              and widespread in its range. The              implementing remedial measures
management plan. The Service agrees          approval criteria in Section 15.32(b)         recommended by the Parties to CITES.
that captive propagation has no bearing      give the Director the flexibility and            One scientific organization
on sustainable use and has deleted this      discretion needed to evaluate                 commented that the Service should be
factor from the final rule.                  sustainable use management plans as           required to establish an ‘‘advisory board
  A scientific organization for              Congress intended.                            of scientists chosen for their
ornithology, one conservation                   The pet industry representative, an        competence in demography’’ to review
organization and some animal welfare         avicultural organization and several          management plans and make
organizations requested that the Service     aviculturists expressed their support for     recommendations to the Service on the
add a requirement which would address        the proposal by the Service ‘‘to give         approval of such plans. The Service
how the exporting country will prevent       particularly positive consideration to        strongly disagrees. The Service makes
the spread of disease from captured          situations wherein very conservative          non-detriment findings routinely and
birds being held prior to export to wild     capture and export quotas are                 has the expertise and competency to
populations. While the Service is aware      implemented prior to being able to            evaluate sustainable use management
that the birds taken for sustainable use     obtain all of the biological information      plans. The Service shall publish notice
may pose a disease risk to wild              necessary for a more large-scale              in the Federal Register of sustainable
populations in the country of import         management plan (in effect, a                 use management plan applications.
and encourages exporting countries to        preliminary approval)’’. They                 Interested parties, including the
minimize such risks, we are making no        recommended that such approval                scientific community, are invited to
changes based on these comments. The         criteria be built into the regulations        submit comments regarding these plans.
Service is unaware of any reliable,          themselves. Several animal welfare and           A few animal welfare organizations
documented examples of where captive-        conservation organizations opposed            and individuals commented in
held birds have transmitted diseases to      such a ‘‘preliminary approval’’.              opposition to the duration of approval
wild populations in the exporting               The Service notes that the criteria in     of 3 years and requested that the Service
country.                                     Section 15.32 will be used to evaluate        approve sustainable use programs for 1
                                             the sustainable use management plans          year only. The Service strongly
Section 15.32(b) Approval Criteria           submitted by an exporting country but         disagrees and is making no changes.
General Comments on the Approval             that the Director has flexibility and         Given the amount of data and
Criteria                                     discretion in approving plans, as             information required by the Service to
                                             Congress intended. The Service is aware       evaluate sustainable use management
   Some animal welfare and                   that the criteria for approval of             plans, an approval for only 1 year would
conservation organizations                   sustainable use plans may appear              be excessive and burdensome to an
recommended that the Service                 rigorous, and although desirable and          exporting country and would not allow
strengthen the wording of the approval       scientifically valid, they may be difficult   an exporting country to develop long-
criteria to require the Director to          for some exporting countries. The             term sustainable use and conservation
‘‘determine whether or not an exotic         Service will evaluate each sustainable        management programs. The Service
bird species should be listed as an          use plan and the information provided         notes that the Secretary may be
approved species for importation from        within on its own scientific and              petitioned at any time under the WBCA
the country of export, under Section         conservation merit. The Service may           to remove a species from the approved
15.33. In making this determination, the     give positive consideration to plans          list of non-captive bred species should
Director shall make a finding that all of    wherein very conservative capture and         information become available that the
the approval criteria have been              export quotas are implemented prior to        number of birds taken is not sustainable.
demonstrably satisfied’’. The Service        being able to obtain all of the biological
disagrees and is making no changes. The      information necessary for a more large-       General Comments Pertaining to Section
Service notes that Congress, in the          scale management plan, if the country         15.33: Species Included in the
Committee Report on the WBCA, said           can demonstrate that such conservative        Approved List for Non-Captive-Bred
that ‘‘the Committee expects the             capture and export quotas are non-            Species
Secretary to evaluate the management         detrimental to the species survival in          No comments were received on the
program based on the best scientific         the wild. There is precedent among            proposed organization of this subpart.
information available, and determine         CITES Parties to impose such                  This subpart is established in this rule;
whether it effectively provides for the      conservative quotas when some                 actual text will be proposed as
conservation of birds. It is the intent of   scientific data is available and a species’   sustainable use management plans are
the Committee that the Secretary have        status is known while the firmer              received and approved.
wide discretion in reviewing                 scientific database is being developed.
management plans under this section.         While some of the biological                  Effects of the Rule
Clearly management plans for birds that      information in the sustainable use               The Service has determined that this
are becoming rare should be much more        management plan may be lacking, the           final rule is categorically excluded
stringent than those for birds that are      plan must address all the other approval      under Departmental procedures in
very abundant and are subject to             criteria requiring the effective              complying with the National
population control programs’’. For           implementation of CITES in the                Environmental Policy Act (NEPA). See
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516 DM [Departmental Manual] 2,              respondents is less than ten (10),            § 15.32 Criteria for including species in the
Appendix 1 Paragraph 1.10. The               yielding a total annual reporting and         approved list for non-captive-bred species.
regulations are procedural in nature,        recordkeeping burden of one hundred              Upon receipt of a completed
and the environmental effects, while         (100) hours or less.                          sustainable use management plan for a
crafted to carry out the benign purposes                                                   country of export, the Director may
                                             List of Subjects in 50 CFR Part 15            approve a species listed in Appendices
of the WBCA, are judged to be minimal,
speculative, and do not lend themselves        Imports, Reporting and recordkeeping        II or III of the Convention for
to meaningful analysis. Future               requirements, Transportation, and             importation from that country. Such
regulations and permitting decisions         Wildlife.                                     approval shall be granted in accordance
implementing the WBCA may be subject                                                       with the issuance criteria of this section.
to NEPA documentation requirements,          Regulation Promulgation                       All approved species and countries of
on a case-by-case basis.                       Accordingly, 50 CFR part 15 is              export will be listed in section 15.33.
                                             amended as follows:                              (a) Requirements for scientifically-
Executive Orders 12866, 12612, and
                                                                                           based sustainable use management
12630 and the Regulatory Flexibility         PART 15—WILD BIRD                             plans. Sustainable use management
Act                                          CONSERVATION ACT                              plans developed by the country of
  This rule was not subject to Office of                                                   export should be submitted for species
Management and Budget review under             1. The authority citation for Part 15       which breed in the country of export. If
Executive Order 12866. This action is        continues to read as follows:                 the species does not breed in the
not expected to have significant taking        Authority: Pub. L. 102–440, 16 U.S.C.       country of export, the Service will
implications for United States citizens,     4901–4916.                                    consider sustainable use management
as per Executive Order 12630. It has also                                                  plans only when the plan is
been certified that these revisions will       2. Amend Part 15, subpart A, section
                                             15.3 by adding the following                  scientifically valid and nesting
not have a significant economic effect                                                     (breeding) information can be provided
on a substantial number of small entities    definitions, in alphabetical order:
                                                                                           from countries in which the species
as described by the Regulatory               § 15.3   Definitions.                         breeds. Sustainable use management
Flexibility Act. Since the rule applies to   *      *     *    *     *                     plans shall include the following
importation of live wild birds into the                                                    information, and any other information
                                                Documentation means a description
United States, it does not contain any                                                     that may be appropriate:
                                             of how scientific information was
Federalism impacts as described in                                                            (1) Background information,
                                             collected, including the methodologies
Executive Order 12612.                                                                     including the following:
                                             used; names and institutions of
Paperwork Reduction Act                      individuals conducting the work; dates           (i) The scientific and common name
                                             and locations of any study; and any           of the species;
   As required by the Paperwork                                                               (ii) Letters from the country of
Reduction Act of 1995 (44 U.S.C.             published results or reports from the
                                                                                           export’s Management and Scientific
3507(d)), the U.S. Fish and Wildlife         work.
                                                                                           Authorities transmitting the
Service has received approval for this       *      *     *    *     *                     management plan of this species;
collection of information, with approval        Life cycle means the annual processes         (iii) A summary of the country of
number 1018–0084, with the expiration        involved with breeding, migration, and        export’s legislation related to this
date of August 31, 1996.                     all other non-breeding activities.            species and legislation implementing
   This collection of information will be    *      *     *    *     *                     the Convention, and, where appropriate,
achieved through the use of USFWS               Status means a qualitative measure of      a summary of implementing regulations;
Application Form 3–200, which will be        the vulnerability to extinction or               (iv) A summary, from the country of
modified pursuant to 50 CFR 13.12(b),        extirpation of a population at a given        export’s Management Authority, of the
to address the specific requirements of      time (e.g., endangered, threatened,           country’s infrastructure and law
this final rule. This collection             vulnerable, non-threatened, or                enforcement and monitoring
information will establish whether or        insufficiently known).                        mechanisms designed to ensure both
not the applicant can include a given                                                      enforcement of and compliance with the
                                                Sustainable use means the use of a
species of exotic bird in the approved                                                     requirements of the management plan,
                                             species in a manner and at a level such
list of non-captive-bred species.                                                          and that the number of birds removed
   The likely respondents to this            that populations of the species are
                                             maintained at biologically viable levels      from the wild or exported will be
collection of information will be foreign                                                  consistent with the management plan;
governments who wish to include a            for the long term and involves a
                                             determination of the productive                  (v) Recent information on the
given species of exotic bird in the                                                        distribution of the species within the
approved list of non-captive-bred            capacity of the species and its
                                             ecosystem, in order to ensure that            country of export, including scientific
species. This information will be                                                          references and maps, and historical
needed by the USFWS to determine             utilization does not exceed those
                                             capacities or the ability of the              information on distributions, if relevant;
whether a given species of exotic bird                                                     and
can be managed in a scientifically based     population to reproduce, maintain itself
                                                                                              (vi) The species’ status and its current
sustainable manner, thus warranting          and perform its role or function in its
                                                                                           population trend in the country of
inclusion in the approved list of non-       ecosystem.
                                                                                           export, including scientific references
captive-bred species. A species and             Trend means a long-term assessment         and copies of the most recent non-
country of export will be approved for       of any change in the absolute or relative     detriment findings made by the
three (3) years, at which time renewal of    size of a species’ population or habitat      exporting country’s Scientific Authority.
approval will be considered by the           over time (e.g., increasing, decreasing, at      (2) Habitat information, including:
USFWS. The annual burden of reporting        equilibrium, insufficiently known).              (i) A general description of habitats
and record keeping should be between         *      *     *    *     *                     used by the species for each portion of
five (5) and ten (10) hours per response.       3. Section 15.32 is amended by             the life cycle completed within the
The estimated number of likely               adding text to read as follows:               country of export;
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   (ii) Recent information on the size and    documentation) of recent reproductive            (ii) For non-pest species: A
distribution of these habitats throughout     (nesting) success. This assessment            description of how the sustainable use
the country of export and in each area        should include information on the             management plan promotes the value of
or region of take, including scientific       number of young produced per egg-             the species and its habitats. Incentives
references and maps. The approximate          laying female per year or per nesting         for conservation may be generated by
location of any reserves that provide         pair, or if scientifically appropriate for    environmental education, cooperative
protection for this species should be         the species to be exported, estimates on      efforts or projects, development of
indicated on the accompanying map(s),         the number of young produced per year         cooperative management units, and/or
along with a brief description of how         from pre-breeding and post-breeding           activities involving local communities.
reserves are protected and how that           surveys conducted within the same                (7) Additional factors:
protection is enforced;                       annual cycle;                                    (i) Description of any existing
   (iii) Status and trends of the important      (iv) Within each area or region of take,   enhancement activities developed for
habitats used by the species in the           estimation (with documentation) of            the species, including, but not limited
country of export as a whole whenever         annual mortality or loss including            to, annual banding programs, nest
available and within each area or region      natural mortality and take for                watching/guarding, and nest
of take, including scientific references;     subsistence use, export trade, and            improvement; and
   (iv) Factors, including management         domestic trade in each area of take; or          (ii) Description, including
activities, favoring or threatening the          (v) When appropriate, information          photographs or diagrams, of the
species’ habitat in the foreseeable future    (with documentation) on the number of         shipping methods and enclosures
within each area or region of take, and       young which can be taken from the area,       proposed to be used to transport the
throughout the country of export              as a result of a conservation                 exotic birds, including but not limited
whenever available, including scientific      enhancement program.                          to feeding and care during transport,
references; and                                  (5) Determination of biologically          densities of birds in shipping
   (v) A list of management plans that        sustainable use:                              enclosures, and estimated consignment
have been or are being planned,                  (i) Estimation of the number exported      sizes.
developed, or implemented for the             from the country during the past 2               (b) Approval criteria. Upon receiving
species’ important habitats, if any.          years, and the number of birds removed        a sustainable use management plan in
   (3) Information on the role of the         from the wild for export, domestic trade,     accordance with paragraph (a) of this
species in its ecosystem, including:          illegal trade, subsistence use, and other     section, the Director will decide
   (i) A description of the part(s) of the    purposes (specify) for the country of         whether or not an exotic bird species
species’ life cycle completed within the      export during the past 2 years;               should be listed as an approved species
country of export;                               (ii) The estimated number of birds         for importation from the country of
   (ii) A description of nest sites and/or    that will be removed from the wild from       export, under section 15.33. In making
plant communities that are most               each area of take each year for all           this decision, the Director shall consider
frequently used for placement of nests        purposes (export trade, domestic trade,       in addition to the general criteria in part
and, if applicable, nesting habits;           illegal trade, and subsistence use),          13 of this subchapter, all of the
   (iii) A general description of the         including a description of age-classes        following factors for the species:
species’ diet and where the species           (nestlings, fledglings, sub-adults, adults,      (1) Whether the country of export is
forages (aerial feeder, tree canopy, tree     all classes), when applicable;                effectively implementing the
trunk, midstory, understory, open water          (iii) For the projected take addressed     Convention, particularly with respect to:
or other), and seasonal changes in            in the management plan, a description            (i) establishment of a functioning
foraging habits, including, when              of the removal process, including, but        Scientific Authority;
available, scientific references; and         not limited to, locations, time of year,         (ii) the requirements of Article IV of
   (iv) Information on any species or         capture methods, means of transport,          the Convention;
plant community which is dependent            and pre-export conditioning;                     (iii) remedial measures recommended
on the occurrence of the exotic bird             (iv) Documentation of how each             by the Parties to the Convention with
species.                                      projected level of take was determined;       respect to this and similar species,
   (4) Population dynamics of the                (v) Explanation of infrastructure and      including recommendations of
species, including:                           law enforcement and monitoring                permanent committees of the
   (i) Recent population data for the         mechanisms that ensure compliance             Convention; and
population of the species in the country      with the methodology in the                      (iv) Article VIII of the Convention,
of export, as derived from indices of         management plan and that the species          including but not limited to
relative abundance or population              will be removed at a level that ensures       establishment of legislation and
estimates, along with documentation for       sustainable use; and                          infrastructure necessary to enforce the
each estimate;                                   (vi) Description of how species in         Convention, and submission of annual
   (ii) Within each area or region of take,   each area or region of take will be           reports to the Convention’s Secretariat;
documentation for recent population           monitored in order to determine                  (2) Whether the country of export has
data or estimates, conducted for at least     whether the number and age classes of         developed a scientifically-based
3 separate years or 1 year with a             birds taken is sustainable.                   management plan for the species that:
description of survey plans for future           (6) (i) For species that are considered       (i) provides for the conservation of the
years. These population assessments           ‘‘pests’’ in the country of origin:           species and its habitat(s);
should have been conducted during the         documentation that such a species is a           (ii) includes incentives for
same season (breeding or non-breeding)        pest, including a description of the type     conservation unless the species is a
of each year for which documentation is       of pest,—e.g., agricultural, disease          documented pest species;
submitted (i.e., be methodologically          carrier; a description of the damage the         (iii) is adequately implemented and
comparable—both temporally and                pest species causes to its ecosystem; and     enforced;
spatially);                                   a description of how the sustainable use         (iv) ensures that the use of the species
   (iii) Within each area or region of        management plan controls population           is:
take, a scientific assessment (with           levels of the pest species.                      (A) sustainable;
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   (B) maintained throughout its range at       (iv) Whether the projected take and       15.33 as approved shall be approved for
a level that is consistent with the          export will not detrimentally affect         3 years, at which time renewal of
species’ role in its ecosystem; and          existing enhancement activities,             approval shall be considered by the
   (C) is well above the level at which      conservation programs, or enforcement        Service.
the species might become threatened;         efforts throughout the species’ range.
   (v) addresses illegal trade, domestic                                                    4. Section 15.33(b) is revised to read
                                                (4) For purposes of applying the          as follows:
trade, subsistence use, disease, and         criterion in paragraph (b)(2)(iv) of this
habitat loss; and                            section, the Director may give positive      § 15.33   Species included in the approved
   (vi) ensures that the methods of          consideration to plans wherein very          list.
capture, transport, and maintenance of       conservative capture and export quotas
the species minimize the risk of injury,                                                  *      *    *    *     *
                                             are implemented prior to being able to
damage to health, and inhumane               obtain all of the biological information        (b) Non-captive-bred species. The list
treatment; and                               necessary for a more large-scale             in this paragraph includes species of
   (3) If the species has a multi-national                                                non-captive-bred exotic birds and
                                             management plan, if the country can
distribution:                                                                             countries for which importation into the
   (i) Whether populations of the species    demonstrate that such conservative
                                             capture and export quotas are non-           United States is not prohibited by
in other countries in which it occurs                                                     section 15.11. The species are grouped
will not be detrimentally affected by        detrimental to the species survival in
                                             the wild under the criterion in              taxonomically by order, and may only
exports of the species from the country
                                             paragraph (b)(2)(iv) of this section.        be imported from the approved country,
requesting approval;
   (ii) Whether factors affecting               (c) Publication in the Federal            except as provided under a permit
conservation of the species, including       Register. The Director shall publish         issued pursuant to subpart C of this
export from other countries, illegal         notice in the Federal Register of the        Part.
trade, domestic use, or subsistence use      availability of each complete sustainable      Dated: November 7, 1995.
are regulated throughout the range of        use management plan received under
                                                                                          George T. Frampton, Jr.,
the species so that recruitment and/or       paragraph (a) of this section. Each notice
                                             shall invite the submission from             Assistant Secretary for Fish and Wildlife and
breeding stocks of the species will not
                                             interested parties of written data, views,   Parks.
be detrimentally affected by the
                                             or arguments with respect to the             [FR Doc. 96–795 Filed 1–23–96; 8:45 am]
proposed export;
   (iii) Whether the projected take and      proposed approval.                           BILLING CODE 4310–55–P
export will not detrimentally affect            (d) Duration of approval. A species
breeding populations; and                    and country of export listed in section
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